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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
__________________________________________
                                           )
EXXON MOBIL CORPORATION,                   )
                                           )
                  Plaintiff,               )
            v.                             ) 4:10-CV-02386 (LHR)
                                           ) 4:11-CV-01814 (LHR)
UNITED STATES OF AMERICA,                  )
                                           )
                  Defendant.               )
                                          )


DEFENDANT UNITED STATES OF AMERICA’S REPLY IN SUPPORT OF MOTION
      FOR PARTIAL SUMMARY JUDGMENT ON PHASE TWO ISSUES



RYAN K. PATRICK                        JEFFREY H. WOOD
 United States Attorney                  Acting Assistant Attorney General
                                         Environment and Natural Resources
JIMMY A. RODRIGUEZ                     Division
  Assistant United States Attorney       United States Department of Justice
  Southern District No. 572175
  Texas Bar No. 24037378               MICHAEL D. ROWE (Attorney-in-Charge)
  1000 Louisiana, Suite 2300           ERICA M. ZILIOLI
  Houston, TX 77002                    JUSTIN D. HEMINGER
  (717) 567-9532                       BRIAN H. LYNK
  jimmy.rodriguez2@usdoj.gov           STEPHANIE J. TALBERT
                                        Trial Attorneys
                                        Environmental Defense Section
                                        P.O. Box 7611
                                        Washington, D.C. 20044
                                        (202) 514-3144
                                        michael.rowe@usdoj.gov

                                       Counsel for Defendant United States
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                                         GLOSSARY

Avgas                Aviation gasoline

CERCLA               Comprehensive Environmental Response, Compensation and Liability
                     Act, 42 U.S.C. §§ 9601-75

EPA                  United States Environmental Protection Agency

Exxon Mot. / Motion Exxon Mobil Corporation’s Consolidated Motion for Partial Summary
                    Judgment as to Phase 2 Cost and Allocation Issues (Dec. 15, 2017), Dkt.
                    No. 200 in 4:10-cv-02386

Exxon Opp. /         Exxon Mobil Corporation’s Response in Opposition to the United States’
Opposition           Motion for Partial Summary Judgment on Phase Two Issues (Mar. 23,
                     2018), Dkt. No. 209 in 4:10-cv-02386

Exxon PF             Exxon Mobil Corporation’s Proposed Findings of Undisputed Material
                     Facts (Dec. 15, 2017), Dkt. No. 200-4 in 4:10-cv-02386

Exxon Resp. to       Exxon Mobil Corporation’s Response to United States’ Statement of
U.S. SOF             Undisputed Facts in Support of Its Motion for Partial Summary Judgment
                     on Phase Two Issues (Mar. 23, 2018), Dkt. No. 209-1 in 4:10-cv-02386

FOA                  Facility Operations Area

NACC                 North American Coverage Case

NCP                  National Contingency Plan

Phase I Decision     Exxon Mobil Corp. v. United States, 108 F. Supp. 3d 486 (S.D. Tex. 2015)

RCRA                 Resource Conversation and Recovery Act, 42 U.S.C. §§ 6901-92k

Site(s)              The refinery(ies), Government plant(s), and other nearby areas or surface
                     waters (as defined by this Court in the Phase I Decision)

SWMU                 Solid Waste Management Unit

U.S. Mot. / Motion   United States’ Memorandum in Support of Motion for Partial Summary
                     Judgment on Phase Two Issues (Dec. 15, 2017), Dkt. No. 202-1 in 4:10-
                     cv-02386

U.S. Opp. /          United States’ Opposition to Plaintiff ExxonMobil Corp.’s Consolidated
Opposition           Motion for Partial Summary Judgment as to Phase 2 Cost and Allocation
                     Issues (Mar. 23, 2018), Dkt. No. 212 in 4:10-cv-02386


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                     Judgment (Sep. 30, 2013), Dkt. No. 103-1 in 4:10-cv-02386

U.S. Phase I Opp.    United States’ Memorandum in Opposition to Exxon Mobil Corporation’s
                     Motions for Partial Summary Judgment (Dec. 20, 2013), Dkt. No. 118 in
                     4:10-cv-02386

U.S. Phase I SOF     United States’ Statement of Undisputed Facts in Support of Motion for
                     Partial Summary Judgment (Sep. 30, 2013), Dkt. No. 103-2 in 4:10-cv-
                     02386

U.S. Phase I Resp.   United States’ Responses to Plaintiff’s Second Set of Proposed Findings
to Exxon Second      of Material Fact (Jan. 23, 2014), Dkt. No. 123-1 in 4:10-cv-02386
Set of PF

U.S. Resp. to        United States’ Responses to Plaintiff’s Proposed Findings of Undisputed
Exxon PF             Material Fact (Mar. 23, 2018), Dkt. No. 212-2 in 4:10-cv-02386

U.S. Resp. to        United States’ Responses to Plaintiff’s Proposed Findings of Undisputed
Exxon Opp. PF        Material Fact in Support of Its Response in Opposition to the United
                     States’ Motion for Partial Summary Judgment on Phase Two Issues (May
                     18, 2018), attached

U.S. SOF             United States’ Statement of Undisputed Facts in Support of Motion for
                     Partial Summary Judgment on Phase Two Issues (Dec. 15, 2017), Dkt. No.
                     202-2 in 4:10-cv-02386

U.S. Suppl. SOF      United States’ Supplemental Statement of Undisputed Facts in Opposition
                     to Plaintiff ExxonMobil Corp.’s Consolidated Motion for Partial Summary
                     judgment as to Phase 2 Cost and Allocation Issues (Mar. 23, 2018), Dkt.
                     No. 212-1 in 4:10-cv-02386

U.S. 2d Suppl. SOF   United States’ Second Supplemental Statement of Undisputed Facts in
                     Support of Motion for Partial Summary Judgment on Phase Two Issues
                     (May 18, 2018), attached




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                                          ARGUMENT

       The United States responds to the arguments in Exxon’s Opposition as follows.

I.     THE FACILITY OPERATIONS AREAS COSTS ARE NOT RECOVERABLE.

       Exxon asserts that its claimed costs are all “necessary costs of response” pursuant to 42

U.S.C. § 9607(a)(4)(B). Exxon Opp. at 18. As previously explained, the Facility Operations

Areas (FOAs) enable Exxon to postpone, not conduct, cleanups (which Exxon does not dispute).

U.S. Mot. at 8-9; U.S. Opp. at 4-5; Exxon Resp. to U.S. SOF ¶ 42. Exxon makes only two

arguments as to why costs associated with the FOAs were nonetheless necessary costs of

response, but neither meets Exxon’s burden of establishing this prima facie element of its claim.

       First, Exxon asserts that the primary purpose of establishing the FOAs was cost savings.

Exxon Opp. at 44; Exxon Resp. to U.S. SOF ¶ 37. Specifically, Exxon could “hypothetically . . .

put those savings into a savings account, and then potentially fund a long-deferred cleanup

activity from the interest on those savings.” Exxon Resp. to U.S. SOF ¶ 37. Engaging in a

costly application process that might save Exxon money in the long run has no bearing, however,

on whether the FOA-related costs are “necessary costs of response,” i.e., costs that must be

expended in order to address hazardous substances. See, e.g., In re Taira Lynne Marine Ltd.

No. 5, LLC, 444 F.3d 371, 381-82 (5th Cir. 2006) (citation omitted) (response costs must have

been incurred “to contain a release threatening the public health or the environment”); Elite

Operations, Inc. v. Union Pac. R.R. Co., Civ. No. H-13-3461, 2015 WL 5474434, at *8 (S.D.

Tex. Sept. 17, 2015) (environmental investigation costs were not necessary to “contain a threat to

the public health or the environment caused by a release”); see also U.S. Mot. at 9.

       Second, Exxon states that “most” of the costs were incurred to conduct investigations

“required” by Texas. Exxon Opp. at 44. The FOA investigations were only “required” to

demonstrate eligibility for the FOA program. U.S. Mot. at 8-9; U.S. Opp. at 5. Even if Exxon
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were correct that some of the $8 million in FOA costs to date were for investigations that would

have to be conducted in the absence of the FOAs, Exxon has not met its burden of establishing

which costs, specifically, were “necessary” to address contamination as opposed to “necessary”

to succeed in its application to Texas. U.S. Opp. at 5; U.S. SOF ¶ 43. Because of how Exxon

has categorized its costs, it is also not possible to determine whether Exxon in fact charged the

costs for any such investigations to the FOA cost category as opposed to other categories like

Refinery Groundwater or Former Ordnance Works Site Cleanup (both of which encompass areas

within FOA boundaries). See U.S. Ex. 11, Ficca Suppl. Report Attach. 3, Schedule B-1 (Jan.

2017) (summary chart); U.S. Ex. 10, Ficca Suppl. Report Attach. 3, Schedule B-2 (Jan. 2017)

(listing “Facility Operating Areas (FOA)” costs under “Area Descriptions” entitled “Refinery

Groundwater” and “Former Ordnance Works Site Cleanup” for numerous cost IDs). 1

        In the alternative, the United States should not be allocated any share of FOA costs for

the reasons previously explained, see U.S. Mot. at 46. Exxon contends that its FOA claim is

justified because Exxon would not seek in allocation a share of future costs to clean up non-

wartime units within the FOAs. Exxon Opp. at 45; Exxon Resp. to U.S. SOF ¶ 44. Even if that

is true, Exxon has not proposed to prorate its $8 million in FOA application costs to account for

non-wartime units. For this additional reason, the United States should not bear any FOA costs.

II.     EXXON DID NOT CONDUCT A SINGLE THIRTY-YEAR REMOVAL ACTION
        AT EACH SITE, NOR WERE ITS ACTIONS CONSISTENT WITH THE NCP.

        Exxon characterizes the entire 30-plus-year history of its work at each Site as a single,

continuous removal action that will not end for years, and possibly decades, to come, conducted



1
  Upon examination of the evidence identified by Exxon in its Opposition regarding the nature of
the sludge excavated from the Lower Outfall Canal, the United States will not pursue its
argument as to the lack of necessity of those costs.

                                                 2
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consistent with the National Contingency Plan (“NCP”). Exxon Opp. at 14, 18. As explained

previously, these cases are different from one in which EPA or another federal agency exercising

response authority under CERCLA made a considered decision to conduct either a removal or a

remedial action under the NCP based on the factual circumstances. U.S. Mot. at 10-11; U.S.

Opp. at 6. Exxon’s cleanup actions were performed under legal regimes other than CERCLA,

and its decisions concerning what actions to take did not follow either the removal decision

process or that for remedial action. Exxon’s after-the-fact characterization of its response

actions for purposes of this litigation should not be afforded any deference that EPA or another

agency might enjoy. See United States v. W.R. Grace & Co., 429 F.3d 1224, 1243-45 (9th Cir.

2005); Colorado v. Sunoco, Inc., 337 F.3d 1233, 1243 (10th Cir. 2003).

       The United States has demonstrated that Exxon’s characterizations are contrary to the

pertinent case law, statutes, regulations, and guidance, and will not repeat those arguments. 2 But

several mischaracterizations and unfounded claims in Exxon’s Opposition warrant a response.

       A.      Facts are relevant to determining the number and nature of response actions.

       Exxon claims that both the number and nature of response actions at a site present

questions of law, not questions of fact. In neither case is Exxon correct. First, Exxon claims that

as a matter of law “there can be only one removal action per site, and the specific facts related to

a site are irrelevant unless special circumstances justify an exception” to this supposed rule.

Exxon Opp. at 16. The Court need not decide whether there can only be one removal action per

site, because the cleanups that are the subject of the United States’ Motion were in the nature of


2
  For example, there is ample evidence that Exxon conducted multiple—not one—response
actions at each Site. U.S. Mot. at 11-13; U.S. Opp. at 7-13. The United States has also
presented ample evidence that some of the response actions Exxon conducted, specifically at the
eight units that are the subject of the United States’ Motion, more closely resembled remedial
actions than removal actions. U.S. Mot. at 13-18; U.S. Opp. at 13-21.

                                                 3
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remedial actions. U.S. Mot. at 13-18; U.S. Opp. at 13-21. But if the Court reaches the question,

it is not well-established that there can be only one removal action per site, as shown by the cases

that Exxon itself cites. Compare Exxon Opp. at 14, 17 with U.S. Opp. at 11-12. In United States

v. R.A. Corbett, 785 F. Supp. 81 (E.D. Tex. 1990), where EPA conducted “three major response

activities” at a site, the court recognized that multiple “removal actions under the meaning of

CERCLA” had occurred. Id. at 82 (emphasis added). The remaining cases Exxon cites (all of

which are outside this Circuit) are distinguishable. 3 And contrary to Exxon’s suggestion, Exxon

Opp. at 14, the United States has not taken the position that there can be only one removal action

per site as a matter of law. Where warranted by the facts, the United States has argued that a

single removal action was conducted at a site. U.S. Opp. at 13. But the facts here show that

Exxon conducted multiple response actions at each Site. U.S. Mot. at 11-13; U.S. Opp. at 7-13.

       Exxon’s bold assertion that the facts of each site are “irrelevant” to determining the

nature of a response action, Exxon Opp. at 16, is similarly unfounded. The Fifth Circuit has held

that the question of whether a response action is a removal action or remedial action is a question

of law. Geraghty & Miller, Inc. v. Conoco Inc., 234 F.3d 917, 925-26 (5th Cir. 2000). But the

court also noted that analyzing this issue is a “highly fact-specific” inquiry. Id. at 926. Exxon

claims that courts have delineated “special circumstances” where facts are relevant, but provides

no explanation of those circumstances or whether those circumstances are or are not present


3
  In California Department of Toxic Substances v. Alco Pac., Inc., the court found that response
activities performed within a small (one-acre) site should be treated as one removal action for
statute of limitations purposes. 308 F. Supp. 2d 1124, 1126, 1131-32 (C.D. Cal. 2004). The
court declined to follow one of the statute of limitations cases that the United States has cited
here (United States v. Ambroid Co., 34 F. Supp. 2d 86 (D. Mass. 1999)), but did not address or
was decided prior to the others. Compare 308 F. Supp. 2d at 1132-33, with U.S. Mot. at 19.
Nothing in Alco suggests that the site at issue was comparable to Exxon’s Baytown or Baton
Rouge complexes or that the cleanup process in Alco was conducted in a manner similar to
Exxon’s response actions. As to the remaining cases Exxon cites, see U.S. Opp. at 11-12.

                                                 4
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here. In this case, the facts concerning Exxon’s response actions at the Baytown and Baton

Rouge Sites establish that many of Exxon’s multiple response actions at each site were remedial

in nature. U.S. Mot. at 11-18; U.S. Opp. at 7-21 (discussing Separator 3M, Separator 10, the

Upper and Lower Outfall Canals, the Velasco Street Ditch, and the South Landfarm at Baytown

and the Shallow Fill Zone, Old Silt Pond, and Rice Paddy Landfarm at Baton Rouge).

       B.      There is no requirement that remedial actions be site-wide.

       Exxon’s position on which factors the Court should evaluate in determining whether

Exxon’s response actions were removal or remedial actions is internally inconsistent. Exxon at

times advocates a bright-line test, asserting that those response actions could not be remedial

actions because they were not “site-wide” remedies. Exxon Opp. at 7. Yet Exxon also asserts

that no one factor is determinative, and seemingly criticizes the United States for focusing on the

absence of imminent threat and the permanent nature of the response actions. Id. at 8-10.

       Contrary to Exxon’s argument, the governing principles in CERCLA, the National

Contingency Plan (“NCP”), the majority of case law, and EPA guidance do not provide bright-

line rules for distinguishing between removal and remedial actions. Id. at 6-7. Instead, those

principles evaluate multiple factors, considering whether the response action is intended to

address an imminent risk or provide a permanent remedy as well as the cost, complexity, and

duration of the response action. U.S. Mot. at 14-15. Nowhere in any of these sources or any

case Exxon has cited is there a requirement that a remedial action must be site-wide, or that a

response action addressing only a portion of a site must be a removal action. U.S. Opp. at 16-17.

       In an attempt to support its argument that a remedial action must be site-wide, Exxon

cites a single, unpublished district court case, California Department of Toxic Substances v. J&S

Chrome Plating Co., Civ. No. 14-2613, 2015 WL 12645742, at *1 (C.D. Cal. 2015). In that



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case, the court held that the statute of limitations for a remedial action was not triggered by the

state agency’s response activities to implement a Removal Action Plan for seven months because

the Remedial Action Plan that was then adopted set forth the permanent remedy. Id. at *3-4.

Whether a remedial action needed to be site-wide was not at issue; the focus was on when the

statute of limitations in 42 U.S.C. § 9613(g)(2)(B) was triggered. The court even stressed that

the overlapping statutory definitions of removal and remedial actions should be construed in

favor of a government seeking cost recovery “especially when a party attempts to assert a statute

of limitations defense against a government entity.” Id. at *3. No such rule of construction

applies to Exxon’s claims here. J&S Chrome Plating thus does not support Exxon’s position.

       C.      Considering the presence or absence of imminent risk as a distinguishing
               factor between removal and remedial actions has regulatory support.

       Exxon’s argument that the United States has no statutory or regulatory basis for focusing

on the presence or absence of an imminent threat, Exxon Opp. at 9-10, misses the mark. In

distinguishing between removal and remedial actions, numerous courts consider whether a

response action was directed at an imminent threat to a receptor. U.S. Mot. at 14-15; U.S. Opp.

at 19. There is also regulatory support for looking at the presence or absence of imminent risk as

a distinguishing factor. For example, the NCP lists several factors that “shall be considered in

determining the appropriateness of a removal action.” 40 C.F.R. § 300.415(b)(2). Those factors

include actual or potential exposure to nearby people or animals; actual or potential drinking

water contamination; threats of fire or explosion; and multiple other factors suggesting that a

removal action may be appropriate if there is an imminent threat to a receptor. Id.

       Other parts of the NCP detailing steps for agencies and private parties to follow to

determine whether a removal or remedial action should be taken and how to conduct each type of

response action echo this theme. For example, the first step after discovery of a release is to


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conduct a preliminary assessment to evaluate whether a removal action may be required, looking

at the factors in section 300.415(b)(2). Id. § 300.405. If a removal action may be required, “a

removal site evaluation shall, if appropriate, be promptly undertaken pursuant to § 300.410.” Id.

§ 300.405(f)(1) (emphasis added). And other “actions shall, as appropriate, begin as soon as

possible to abate, prevent, minimize, stabilize, mitigate, or eliminate the threat to public health or

welfare . . . .” Id. § 300.415(b)(3) (emphasis added).

        In contrast, if a removal is not required, e.g., there has been an actual or threatened

release of hazardous substances but the section 300.415(b)(2) factors are not present, the

remedial process need not start “promptly” or “as soon as possible.” Id. § 300.405(f)(2) (“[A]

remedial site evaluation shall, if appropriate, be undertaken by the lead agency pursuant to §

300.420.”). The steps involved in a remedial action are also more complex and may take more

time than a removal action. Id. §§ 300.420, 300.430, 300.435. Moreover, during the remedial

action process, the agency must continue to evaluate whether there is a “potential need” to take a

removal action to address a particular threat. See, e.g., id. § 300.420(c)(1)(ii), (c)(2). 4

        D.      The technical solution used in a response action does not determine whether
                the response is a removal or remedial action.

        Exxon faults the United States for not “compar[ing] Exxon’s actions to the examples

listed in guidance of removal actions” set forth in 40 C.F.R. § 300.415(e). Exxon Opp. at 8.

Applying Exxon’s suggested analysis to a specific action reveals that this exercise is not helpful



4
  Consistent with its regulations, and contrary to Exxon’s assertion, Exxon Opp. at 9, EPA’s
guidance also addresses the concept of time sensitivity. EPA’s guidance distinguishing between
non-time-critical removal actions and remedial actions states that the issue is whether there is “a
threat to human health or the environment that, though not time-critical, is nonetheless
sufficiently serious that the added time needed to comply with remedial requirements . . . would
be unacceptable.” U.S. Ex. 112, EPA, Use of Non-Time-Critical Removal Authority in
Superfund Response Actions 5 & n.6 (Feb. 14, 2000); U.S. Mot. at 14

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in distinguishing between removal and remedial actions. For example, actions taken by Exxon at

these Sites—excavating or capping contaminated soils—are listed as both remedial actions and

removal actions. Compare 40 C.F.R. § 300.415(e)(4) & (6) (listing capping and excavation of

contaminated soils as examples of technologies that may be used in removal actions) with 40

C.F.R. § 300.5 & 42 U.S.C. § 9601(24) (listing capping and excavation of contaminated soils as

examples in the definition of remedial action).

       Ultimately it is the context within which a particular action is taken that determines

whether it is a removal or remedial action. 5 For example, excavating highly contaminated soil

located in a neighborhood that is leaching hazardous substances into groundwater, posing a risk

of exposure to residents, could be an appropriate removal action to prevent further leaching. But

excavating an identical area of highly contaminated soil located in the middle of a highly

regulated industrial site that poses no such risks to groundwater or people would be an

appropriate remedial action as it provides the permanent remedy. The mere presence of highly

contaminated soils and the choice of technology are not determinative of whether that action is

removal or remedial in nature.

       E.      The undisputed facts support application of the CERCLA section 9613(g)(2)
               time-bar.

       The United States’ Motion established that claims for the costs incurred at eight of

Exxon’s cleanup units (five at Baytown and three at Baton Rouge) are time-barred when

applying the statute of limitations for remedial actions under 42 U.S.C. § 9613(g)(2)(B), which is



5
 In his deposition, Mr. Wozniak provided a helpful illustration of how these principles apply in
practice. Specifically, he explained why it was important to look beyond the fact that a cap was
used to close the South Landfarm to the circumstances of why the closure was conducted to
determine that the response action was remedial in nature, not removal. U.S. Ex. 47, Alborz
Wozniak Dep. 182:10-184:22 (May 24, 2017).

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the applicable limitations period under the facts of this case. See U.S. Mot. at 18-21. Even if the

Court were to find that the response actions at these units were removal actions, the costs for five

(three at Baytown and two at Baton Rouge) would still be time-barred. Id. at 21. Exxon’s

opposition fails to distinguish the case law supporting the United States’ position. See Exxon

Opp. at 14-16 & nn.11-13. In particular, its suggestion that courts can find multiple statute of

limitations triggers in appropriate factual circumstances only for remedial actions but not for

removal actions (Exxon Opp. at 15) is contrary to case law. See Bernstein v. Bankert, 733 F.3d

190, 215 (7th Cir. 2013) (two removals treated as separate for statute of limitations purposes);

Ambroid Co., 34 F. Supp. 2d at 88 (same); Valbruna Slater Steel Corp. v. Joslyn Mfg. Co., No.

1:10-cv-044, 2013 WL 1182985, at *12 (N.D. Ind. Mar. 21, 2013) (treating United States v.

Manzo, 182 F. Supp. 2d 385 (D.N.J. 2000) as authority for the proposition that “separate actions

for multiple removal or remedial actions” can be available “under the right circumstances”)

(emphasis added). Even if there was such a bright-line legal distinction, it would not save Exxon

from a finding of untimeliness, because the facts demonstrate that the response activities at these

eight units were in the nature of remedial action. See U.S. Mot. at 13-17. Finally, Exxon’s

attempt to evade altogether any application of a statute of limitations by relying on a theory of a

“single continuous removal action” (Exxon Opp. at 14-17) is unavailing for the reasons

discussed above.

       F.      The United States applied the proper standard in concluding that some of
               Exxon’s response actions were not consistent with the NCP.

       Exxon argues that the United States unfairly “compared Exxon’s work to that which

would be required of an EPA-led cleanup, and treated immaterial deviations from that standard

as a failure to comply with the NCP” rather than applying the “substantial compliance” standard.




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Exxon Opp. at 20. Exxon also argues that the United States “selectively showcases” four criteria

in its NCP consistency analysis. Exxon Opp. at 18. Neither argument has merit.

       Contrary to Exxon’s suggestion, Congress did impose a higher bar on private parties.

CERCLA provides that a private party may only recover costs incurred “consistent with the

[NCP]” while governmental entities have the lower burden of showing that their costs were

incurred “not inconsistent with the [NCP]”. 42 U.S.C. § 9607(a)(4)(A)-(B) (emphasis added).

This is in keeping with the CERCLA goals of facilitating cleanups and ensuring that polluters,

not taxpayers, bear the costs. Exxon is not entitled to the lower standard afforded to EPA.

       Exxon’s suggestion that the United States did not apply the substantial compliance

standard is also unfounded. The NCP specifically identifies a subset of NCP requirements that

applies to private party response actions where the private party must demonstrate NCP

consistency for cost recovery purposes, 40 C.F.R. § 300.700(c)(4). For example, the NCP

outlines the steps a private party should follow to conduct a remedial investigation/feasibility

study (“RI/FS”). 40 C.F.R. § 300.430. An immaterial deviation might be that an RI/FS fails to

adequately address some of the evaluation criteria that section 300.430(e)(9) says should be

considered in an analysis of alternative remedies. An immaterial deviation is not, as at the

Velasco Street Ditch, the failure to complete an RI/FS (or its equivalent) altogether. U.S. Mot. at

25. To interpret “substantial” compliance as “no” compliance is contrary to the higher bar that

Congress set for private parties seeking to recover their costs. 6

       The United States’ arguments that Exxon’s actions at the South Landfarm, Outfall

Canals, Velasco Street Ditch, Shallow Fill Zone, and Rice Paddy Landfarm were not consistent


6
  Exxon’s claim that the United States failed to consider state oversight, Exxon Opp. at 22-23, is
inapposite. State requirements may or may not satisfy the NCP. For example, state oversight is
insufficient to satisfy the NCP’s public participation requirements. See U.S. Opp. at 23-26.

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with the NCP are based on non-trivial deficiencies with respect to applicable NCP requirements.

Mr. Wozniak conservatively analyzed Exxon’s actions and expressly did not require that Exxon

adhere to every single NCP requirement. U.S. Ex. 27, Alborz Wozniak Rebuttal Report 63-65

(Feb. 15, 2017). This was particularly challenging because Exxon did not conduct these

cleanups under CERCLA. Mr. Wozniak took great pains to determine if Exxon’s actions could

be construed as equivalent to NCP steps. Id. at 64-65. His evenhanded analysis is demonstrated

by his conclusions that Exxon substantially complied with the NCP when it conducted several

other RCRA unit closures even though Exxon had not conducted those cleanups under CERCLA

or the NCP. Id. at 77-80, 105-06.

       Finally, Exxon’s argument that the United States improperly focused on four criteria in

its NCP consistency analysis, Exxon Opp. at 18, ignores the fact that these four overarching

criteria come directly from the NCP. Specifically, the NCP provides that a private party

response action is considered consistent with the NCP if “the action, when evaluated as a whole,

is in substantial compliance with the applicable [technical] requirements . . . , and results in a

CERCLA-quality cleanup.” 40 C.F.R. § 300.700(c)(3)(i). The preamble to the 1990 NCP stated

that a “CERCLA-quality cleanup” must: (1) satisfy the basic remedy selection requirements of

CERCLA (cost effective, protective of human health and the environment, and provide a

permanent solution; (2) attain applicable and relevant and appropriate requirements or ARARs;

and (3) provide for meaningful public participation. 55 Fed. Reg. 8666, 8793 (Mar. 8, 1990).

Thus, the United States’ analysis, and the opinions of its expert, Mr. Wozniak, properly




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examined not only Exxon’s substantial compliance with the technical requirements of the NCP

but also Exxon’s compliance with the three sub-components of a CERCLA-quality cleanup. 7

III.     EXXON’S CLAIM SHOULD NOT INCLUDE PREVIOUSLY REIMBURSED
         COSTS OR COSTS FOR WHICH IT LACKS ADEQUATE EVIDENCE.

         Before the Court allocates Exxon’s past costs, it should address two cost-related issues.

U.S. Mot. at 27. First, the Court should equitably account for prior insurance settlements that

reimbursed Exxon for some of the costs it seeks here. Second, the Court should exclude costs for

which Exxon lacks sufficient evidence to satisfy the NCP’s accurate accounting provision.

         A.     The Court should equitably account for Exxon’s prior insurance settlements.

         Courts widely recognize that preventing a party from obtaining two recoveries for the

same costs is a significant equitable factor under CERCLA. U.S. Mot. at 27–28. Exxon does not

contest this is an appropriate equitable factor, or dispute that it has recovered insurance proceeds

for millions of dollars of its past costs at the Baytown and Baton Rouge Sites—costs that it again

seeks to recover in this case. Exxon Opp. at 27. Instead, Exxon presents three flawed arguments

for why the Court should either deduct nothing from Exxon’s claim, or much less than Exxon’s

own internal allocation of the insurance proceeds would suggest.

         First, Exxon claims that it is “well-established” that no insurance offset is appropriate

unless the insurance recovery and the CERCLA recovery would exceed 100% of the plaintiff’s

response costs. Exxon Opp. at 26–27. Exxon labels this the “traditional method” but fails to

acknowledge the cases the United States cited where courts used a different method to offset



7
  Exxon’s claim that it should not be held to a CERCLA-quality cleanup for actions taken under
the 1985 NCP, Exxon Opp. at 19, misses the mark. Mr. Wozniak concluded that Exxon failed to
substantially comply with the 1985 technical requirements at each cleanup unit where, he opined,
Exxon’s actions were not consistent with the NCP. U.S. Mot. at 23-26; U.S. Ex. 27, Wozniak
Report at 85, 102-03, 105-06; U.S. Ex. 47, Alborz Wozniak Dep. 80:9-16 (May 24, 2017).

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insurance recoveries in a CERCLA equitable allocation. U.S. Mot. at 28–29. For example,

Exxon ignores the Tenth Circuit decision upholding the district court’s decision to credit more

than $20 million in insurance proceeds against a CERCLA contribution claim. See Friedland v.

TIC-The Indus. Co., 566 F.3d 1203, 1205–11 (10th Cir. 2009). And Exxon fails to acknowledge

the Second Circuit’s decision upholding the district court’s decision to reduce a CERCLA

recovery by $20 million in insurance proceeds. New York State Elec. & Gas Corp. v.

FirstEnergy Corp., 766 F.3d 212, 237–38 (2d Cir. 2014).

       Instead, Exxon relies on Appleton Papers, Inc. v. George A. Whiting Paper Co., 955 F.

Supp. 2d 947 (E.D. Wis. 2013), but that decision is not as helpful as Exxon suggests. Appleton

Papers assumed that double recovery could only occur if the contribution plaintiff recovers more

than 100% of its costs. Id. at 954. That makes little sense because CERCLA Section 113(f) is

supposed to allow a contribution plaintiff to recover costs to the extent necessary to ensure that

that plaintiff does not pay more than its own equitable share. If the contribution plaintiff were

allowed to recover up to 100% of its costs from insurance and the contribution defendant, then it

may ultimately recover so much that it is not out of pocket any costs—in other words, it would

have paid less than its equitable share. Put differently, deducting an insurance recovery before

allocating the remaining costs between a contribution plaintiff and defendant ensures that both

PRPs share in the benefit of that recovery according to their respective equitable shares.

       Exxon also cites (Exxon Opp. at 47) the Seventh Circuit’s decision affirming Appleton

Papers, but that court stressed that “any level of double recovery is inequitable in CERCLA

contribution actions” and “ignoring insurance settlements when it would lead to double recovery

is inconsistent with the statute’s purpose.” NCR Corp. v. George A. Whiting Paper Co., 768

F.3d 682, 708 (7th Cir. 2014). Since there is no “bright-line rule for how a court should treat



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insurance settlements,” the Seventh Circuit concluded only that the district court did not abuse its

discretion by leaving the insurance proceeds with the PRP. Id.

       Second, Exxon argues that the United States miscalculated the amount of costs that

Exxon recovered in the North American Coverage Case (NACC) litigation. Exxon Opp. at 27–

28. As the United States noted, Exxon’s contemporaneous internal allocation of its $269 million

in settlement proceeds attributed $8.65 million to Baytown costs and $11.25 million to Baton

Rouge costs. U.S. Mot. at 28–29. Exxon now submits a new analysis suggesting that much less

should be deducted in the CERCLA case, based on the assumption that the insurance settlements

should only cover specific past costs that Exxon is seeking to recover from the United States.

Exxon Opp. Table 16 at 1. But Exxon previously undercut its assumption by claiming the

“documents produced demonstrated that Exxon (or its insurers) did not allocate settlement

monies for specific payment of any or all of the claimed environmental cleanup costs for the

Baytown and Baton Rouge sites.” U.S. Ex. 152, Exxon Responses to U.S. Second Set of Phase

II Discovery, Response to Request for Production No. 1 at 11 (emphasis added). 8

       Third, Exxon argues (Exxon Opp. at 28–29) that the collateral source rule bars an

insurance offset argument, directing the Court to cases involving contract disputes. But this is a

CERCLA case, and Exxon fails to acknowledge that courts in CERCLA cases routinely hold that

the collateral source rule does not apply. In NCR—a case that Exxon itself cites one page earlier

(Exxon Opp. at 27)—the Seventh Circuit expressed that very point: “[T]he collateral source rule

does not apply in CERCLA § 113(f) contribution actions.” 768 F.3d at 707.



8
  Exxon also seeks to reduce its $269 million in insurance recoveries by deducting $69 million in
attorney’s fees it allegedly incurred in the NACC litigation. Exxon Opp., Table 16. Exxon cites
no authority for this request, and in Friedland, the Tenth Circuit rejected a similar attempt by a
PRP to re-allocate its insurance settlement to cover defense costs. 566 F.3d at 1210.

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        In sum, preventing double recovery is an appropriate equitable factor here, and the Court

has discretion to decide how best to account for Exxon’s $269 million in insurance settlements.

The United States has proposed a reasonable offset of an allocated portion of these insurance

proceeds based on Exxon’s internal documents. Thus, the Court should offset Exxon’s claimed

past costs by $8.65 million at Baytown and $11.25 million at Baton Rouge.

        B.      Exxon has failed to accurately account for many of its past costs.

        The NCP requires Exxon to accurately account for its costs with sufficient admissible

evidence. U.S. Mot. at 30–31. Based on Exxon’s opposition brief, it appears that the parties are

in general agreement about many of the material facts. But the parties have a fundamental

disagreement about what the NCP accurate accounting provision requires. The Court should

resolve that dispute by providing the parties with guidance on the accurate accounting

requirement, including by specifying what evidence Exxon may use to prove its costs. The

Court should thus grant the United States partial summary by deducting the $6.7 million for

which Exxon has no invoices and no proof of payment, and leave the parties to apply the Court’s

rulings to resolve any disagreements about Exxon’s remaining costs.

                1.      The NCP requires Exxon to accurately account for its costs.

        To recover its past costs, Exxon must satisfy two NCP requirements: (1) to “complete

and maintain documentation . . . to form the basis for cost recovery” and (2) to produce

documentation that, “[i]n general, . . . shall be sufficient to provide . . . accurate accounting of . .

. private party costs incurred for response actions.” 40 C.F.R. § 300.160(a)(1). 9 Exxon insists

(Exxon Opp. at 31) that it has “far surpassed that standard,” but it has set the bar artificially low.


9
 In contrast to private parties, CERCLA authorizes EPA to recover all response costs that are
“not inconsistent” with the NCP, and EPA has well-established procedures for documenting its
costs that are not at issue here. U.S. Mem. at 32 n.21, 33 n.22.

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       Exxon admits (Exxon Opp. at 31) that for slightly less than 10% of its $77 million in past

costs, it has no invoice or proof of payment. 10 Despite failing to maintain these basic, routine

commercial documents, Exxon tries to flip the burden of proof by criticizing the United States

for failing to identify “material errors” in Exxon’s claim. Id. at 31. To the contrary, it is

Exxon’s burden to substantiate its costs with sufficient evidence. 42 U.S.C. § 9607(a)(4)(B); 40

C.F.R. § 300.160(a)(1). Where Exxon has offered only minimal evidence to support millions of

dollars in costs, it is virtually impossible for the United States or the Court to determine whether

those costs are accurate and whether they constitute recoverable response costs under CERCLA.

       Despite missing critical evidence, Exxon argues that it can accurately account for every

penny of its $77 million in past costs, stressing that the NCP’s requirement is “flexible.” Exxon

Opp. at 31. That should mean, as Grace says, that no one type of document is always required

and that ordinary “civil evidentiary standards” apply when deciding what evidence is required.

United States v. W.R. Grace & Co.-Conn., 280 F. Supp. 2d 1149, 1180 (D. Mont. 2003). But

Exxon bends that flexible standard so that virtually any documentation Exxon offers is sufficient.

Exxon Opp. at 37–39. Under Exxon’s reading of the NCP, all of its costs are equally accurate

and substantiated, regardless of whether they are supported by an invoice, proof of payment, and

an accounting record, or supported by a single line of information downloaded from the NACC

damages database (which is not even an accounting system). Exxon cites no case holding that

the NCP’s accurate accounting requirement is so toothless.

       Exxon complains that the United States asked the Court to require Exxon to provide an

invoice and proof of payment for every cost. Exxon Opp. at 29. The United States’ Motion



10
  The United States’ expert, EJ Janik, has calculated this figure to be $6.7 million, which is
approximately 8% of Exxon’s costs. U.S. Mot. at 42–43.

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actually said that “invoices and proof of payment would provide the evidence needed to prove

the costs that Exxon has paid to contractors,” and therefore “the Court should hold that Exxon

must produce both types of evidence, or produce other documentation that provides equivalent

support for Exxon’s costs.” U.S. Mot. at 36 (emphasis added). We further cited to cases and

testimony establishing that invoices and proof of payment are standard evidence to support

CERCLA past costs, and demonstrated that where a plaintiff fails to provide sufficient evidence,

courts deduct unsupported costs from a contribution claim. U.S. Mot. at 32–37; U.S. Opp. at 28–

29, 31. Exxon criticizes the United States’ position, Exxon Opp. at 37–39, yet it fails to explain

why the cases that the United States cited do not support that position.

       If Exxon were missing just a handful of invoices, or a few canceled checks, then it would

be easy for the parties to resolve this issue. But, in the United States’ view, Exxon has failed to

properly document roughly one-third of its past costs (about $23 million), including $6.7 million

for which it has produced no invoices and no proof of payment—8% of its total past costs claim.

U.S. Mot. at 31. The parties have conflicting views on the legal consequences of this missing

evidence, so the Court should provide the parties with guidance about what the NCP requires.

               2.      Exxon cannot substitute computer screenshots for invoices.

       Exxon misunderstands the United States’ position regarding Exxon’s reliance on

screenshots from the Evaluated Receipt Settlement (ERS) system. Exxon Opp. at 32–33. The

United States’ position is not that the ERS system cannot provide sufficient evidence to support

Exxon’s costs, but rather that the ERS screenshots that Exxon has produced do not provide

sufficient information to substitute for third-party vendor invoices. U.S. Opp. at 35–36.

       Exxon’s expert, Paul S. Ficca, treats the ERS screenshots as invoices, but a quick review

of a sample ERS screenshot confirms that they are not. U.S. Ex. 228, Baytown ERS Screenshot;

U.S. Resp. to Exxon PF ¶ 802. As the United States’ accounting expert, EJ Janik, explained,

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“The [ERS] screenshots are missing information that I would typically expect to see included in

a vendor invoice from an unrelated third party, such as a description of the goods or services

provided and locations of such, the hourly rates charged for services, a description of costs, a

reference to the contract or purchase order, and other relevant invoice information.” U.S. Ex. 2,

Janik Decl. ¶ 19. Mr. Janik acknowledges that Exxon may have this information stored in

another part of the ERS system, but the screenshots that Exxon has produced “lack sufficient

relevant information to allow an accountant or another third party to verify the transaction.” Id. ¶

20; id. ¶¶ 18–22; U.S. Resp. to Exxon PF ¶¶ 802–06.

       To bolster the use of ERS screenshots, Exxon quotes selective testimony from its fact

witness, AJ Gravel. Exxon Opp. at 32 n. 34. Under further questioning, however, Mr. Gravel

conceded that an ERS screenshot did not identify the work performed and that other

documentation would provide information missing in the screenshot. U.S. Resp. to Exxon PF ¶

806. Again, Exxon tries to shift the burden to the United States by arguing (at 32) that Mr. Janik

did not identify any ERS-supported costs that he believes are suspect. But Mr. Janik’s role is not

to guess what issues he would uncover if Exxon had produced sufficient evidence from the ERS

system. His job is to review what Exxon has produced, which is inadequate.

       Again, if Exxon had used ERS screenshots to support a modest set of costs, this would be

a minor issue. But Exxon is relying on ERS screenshots with minimal information for more than

$8.6 million in costs. The Court should hold that these screenshots, by themselves, cannot

substitute for traditional paper invoices. To be clear, we are not asking the Court to deduct all

$8.6 million in ERS-supported costs. At this stage, all the United States requests is that the

Court clarify for the parties whether ERS screenshots are adequate evidence and then order the

parties to attempt to seek agreement on how that impacts Exxon’s past costs claim.



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               3.     Exxon’s internal accounting records cannot substitute for invoices
                      and proof of payment.

       Exxon argues that its accounting system records are so accurate and reliable that they can

prove its costs without invoices and proof of payment, and contends that it is “facially ludicrous”

for the United States to suggest that the accounting records of “the number four company on the

Fortune 500” are unreliable. Exxon Opp. at 33. The United States, however, made no such

blanket suggestion in its brief. All the United States has done is show that the limited accounting

system records that Exxon has submitted in this case are unreliable, for two reasons.

       First, those records are incomplete. Exxon chalks this up to minor variances between the

four accounting systems it has used. Exxon Opp. at 33. But the information missing from the

accounting system records is fundamental data that should be stored by any financial

recordkeeping system (for example, vendor name, invoice number, and invoice date). U.S. SOF

¶ 91; U.S. Resp. to Exxon PF ¶ 809. And cost items that are missing information can easily be

compared to cost items that have the information in the same accounting system.

       Mr. Ficca did eliminate more than three hundred cost items from Exxon’s claim where he

had no invoice and the accounting records were missing the invoice number and vendor name.

U.S. SOF ¶ 97. But he declined to exclude other cost items where the accounting system failed

to produce complete information. U.S. SOF ¶ 98. Similarly, Exxon inaccurately states that

“Exxon removed from its claim any cost items for which Exxon was unable to locate either an

invoice number or a vendor name in the accounting record.” Exxon Opp. at 33. Exxon only

removed items where both pieces of information are missing. U.S. SOF ¶ 97.

       Second, the accounting records Exxon submitted in this case contain errors. The United

States has pointed to three such errors amounting to $575,118.84. U.S. Mot. at 38. Exxon

claims (Exxon Opp. at 34) that these errors are “irrelevant” because it removed them from its


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claim. But the United States highlighted these errors because they demonstrate that the

accounting records that Exxon submitted in this case are erroneous and unreliable. Even if

Exxon no longer seeks to recover those three cost items, the accounting records that are before

the Court still contain those errors. And Exxon’s accounting records and NACC damages

database records contain additional errors. For example, vendor names in Exxon’s accounting

records include “Booked incorrectly C1,” “Keepsake,” and “Defaultacctclearing.” U.S. Resp. to

Exxon PF ¶ 809. Likewise, the NACC damages database contains erroneous vendor

information, such as “NO Vendor Number 19952” and “No Vendor Number 3016.” Id.

       In sum, the accounting records that Exxon has provided in this case are missing basic

financial information and contain errors, rendering them inaccurate and unreliable. Yet Exxon is

seeking $6.7 million based on those accounting records (or a NACC damages database record).

The Court should grant summary judgment and exclude those amounts at the specific cleanup

units identified in the United States’ Motion. U.S. Mot. at 42–43.

               4.     The NACC damages database may be admissible but is unreliable.

       Exxon has not established that the NACC damages database was admissible, and that the

database would not qualify under the hearsay exception for business records because Exxon

developed the database for the NACC litigation. U.S. Mem. at 39–40. Exxon responds by

arguing that the database should be admissible under Federal Rule of Evidence 803(16) (the

ancient document exceptions) or 807 (the residual exception).

       The NACC damages database may be admissible under the ancient documents exception,

which applies to a “statement in a document that was prepared before January 1, 1998, and

whose authenticity is established.” Fed. R. Evid. 803(16); see Halliburton Energy Servs. v. NL




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Indus., 648 F. Supp. 2d 840, 870 n.25 (S.D. Tex. 2009). 11 Authenticity “is satisfied by evidence

sufficient to support a finding that the matter in question is what its proponent claims,” Fed. R.

Evid. 901(a). Exxon relies on the February 1999 deposition of its employee, Dick Cureton, in

the NACC litigation to authenticate the database. The United States accepts Mr. Cureton’s

testimony that the database was developed by a subgroup within Exxon’s legal department for

purposes of litigation. U.S. Resp. to Exxon Opp. PF ¶ 33.

        It remains unclear whether the NACC damages database should qualify as a “statement

… that was prepared before January 1, 1998.” Fed. R. Evid. 803(16). Exxon notes that the costs

it seeks to use the database to prove in this case apparently were entered before February 1999.

We agree. But Mr. Cureton also testified that Exxon was continuing to update the database and

working to make the database more accurate. U.S. Resp. to Exxon Opp. PF ¶ 34. In other

words, the database was not a static creation as of January 1, 1998 (and it is unlikely Exxon

would have entered all 1997 costs into the database before January 1, 1998). Id. But even if the

NACC damages database is admissible, Exxon developed it for litigation, so it is not the type of

evidence that is sufficient to support its costs in this case.

                5.      Exxon cannot save its costs by challenging the United States’ expert.

        Exxon incorrectly claims that “[i]n essence, the Government’s only support for its

demand for invoices and proof of payment records for every single cost item is the opinion of its

own expert, Mr. Janik,” ignoring the multiple cases the United States cited on this topic. Exxon

Opp. at 38; compare U.S. Mot. at 33–37. Exxon also tries to question Mr. Janik’s qualifications

because, notwithstanding his forensic accounting experience, he has not previously worked with


11
  Since Fed. R. Evid. 803(16) may apply, we take no position on whether Fed. R. Evid. 807
could apply except to note that it is “to be used only rarely, in truly exceptional cases.” United
States v. Walker, 410 F.3d 754, 757 (5th Cir. 2005) (citations and quotations omitted).

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the NCP’s accurate accounting provision. But Exxon’s accounting expert, Mr. Ficca, shares this

lack of experience. U.S. Ex. 30, Ficca Dep. Vol. I, 29:10–32:16 (Nov. 28, 2016).

        Further, Exxon conflates Mr. Janik’s expert opinions as an accountant with the United

States’ legal arguments based on the undisputed material facts. Mr. Janik has testified about

what evidence he, as an accountant, would want to see to accurately account for costs. But for

summary judgment purposes, Mr. Janik’s opinions have focused on analyzing and categorizing

the evidence that supports Exxon’s costs. The United States’ legal argument is that the Court

should require Exxon to prove each of its claimed costs with an invoice and proof of payment or

equivalent support. And on that issue, a number of the material facts are undisputed. For

example, Exxon does not dispute that for roughly 8% of its costs it has no invoice and no proof

of payment; the only dispute concerns the legal significance of this fact.

IV.     THE COURT SHOULD ALLOCATE ONLY A SMALL SHARE OF SOME OF
        EXXON’S COSTS TO THE UNITED STATES.

        A.     The United States is not responsible for cleanup costs at the Old Silt Pond,
               Rice Paddy Landfarm, and Tank Farm 3000 Area.

               1.      Old Silt Pond and Rice Paddy Landfarm

        Exxon fails to meaningfully rebut the United States’ argument that the United States is

not responsible for costs incurred to address the Old Silt Pond and Rice Paddy Landfarm. First,

there is no reliable evidence in the aerial photography or elsewhere that the Old Silt Pond or the

Rice Paddy Landfarm were used for waste disposal during World War II. U.S. Mot. at 47-49;

U.S. SOF ¶¶ 113-17; 127-33. 12 Second, Exxon’s claimed costs were incurred to address




12
  Exxon contends that the testimony of the United States’ aerial photography expert, Mary
Sitton, is not reliable or valid because she misstated when World War II began. Exxon Resp. to
U.S. SOF ¶ 127. The United States relies on Ms. Sitton’s testimony regarding what she could
see in dated photographs taken during World War II, which is within her expertise, not (cont’d)

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impoundments built and used in portions of the Old Silt Pond and Rice Paddy Landfarm in the

1970s and 80s, and any contribution by the United States to waste below those impoundments

would have been de minimis. U.S. Mot. at 50-51; U.S. SOF ¶¶ 119-25; 134-38.

       Exxon asserts that even though the Old Silt Pond itself was not operational prior to 1945,

Callaghan’s Bayou conveyed refinery wastewater from the Master Separator to the Mississippi

River prior to that date, sending overflows of refinery waste into the area that subsequently

became the Old Silt Pond. Exxon Opp. at 48. Exxon also contends that Callaghan’s Bayou was

“periodically dredged during World War II” and that the dredged material was placed in the

footprints of what became the Old Silt Pond and Rice Paddy Landfarm. Id. at 48-49. But 1946

and 1948 reports by Exxon’s Oil Conservation Department state that, rather than causing

overflow into the Old Silt Pond area, spring and summer high water in Callaghan’s Bayou

deposited 80,000 cubic yards of oil laden silt in the Bayou, which then carried a large portion of

the oil laden silt from the Master Separator “to the river.” A004035; A004039; see also U.S.

Resp. to Exxon PF ¶ 512. The reports further state that dredging of Callaghan’s Bayou started

around July 1, 1946, almost a full year after VJ Day. U.S. Resp. to Exxon PF ¶ 515 (citing

A004035). See also id. ¶ 512.

       Exxon further argues that a “separate, earthen drainage ditch” and a “diversion

chamber/combined sewer overflow device” contributed wastes to the Old Silt Pond during World

War II. Exxon Opp. at 49. But the earthen drainage ditch flowed into Callaghan’s Bayou, not

from the Bayou into the Old Silt Pond, U.S. Resp. to Exxon PF ¶ 513, and Exxon failed to




her understanding of the timing of World War II, which is not within her expertise. Notably,
Exxon does not challenge her qualifications within her expertise.



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submit any evidence that the diversion chamber/combined sewer overflow device disposed of

wastewater into the area that became the Old Silt Pond during World War II. Id. ¶ 516.

       With respect to the Rice Paddy Landfarm, Exxon argues that there is evidence that the

unit was used as a landfill “since the early days of the refinery,” but the cited report provides no

basis for that conclusion, and the aerial photography shows no indication of use until after World

War II. U.S. SOF ¶¶ 127-33; U.S. Resp. to Exxon PF ¶ 518. Exxon also contends that an

impounding basin located southeast of the Rice Paddy Landfarm “discharged wastewaters during

the wartime period that flowed onto portions of the Rice Paddy Landfarm.” Exxon Opp. at 49.

Yet the aerial photography fails to show any material flowing from an outfall to the south and

entering the footprint of the Rice Paddy Landfarm prior to 1947, U.S. SOF ¶ 132, and actually

suggests that the outfall may have been connected to a source other than or in addition to

Exxon’s impounding basin. U.S. Resp. to Exxon PF ¶ 519.

       Furthermore, Exxon does not dispute that there is no evidence of the volume of wastes

sent from plancors in operation after World War II and during the Korean War that would allow

the Court to determine a percentage of United States culpability during those years. Such

contribution is surely de minimis, however, compared to the refinery’s contribution during the

several decades that it used the Old Silt Pond and the Rice Paddy Landfarm for waste disposal. 13

For the same reason, to the extent Exxon incurred costs to address contamination beneath

impoundments containing 1970s and 80s-era contamination (which were the focus of Exxon’s

cleanup activities at the Old Silt Pond and Rice Paddy Landfarm), see U.S. SOF ¶¶ 125, 138, the



13
  This is so even if, as Exxon contends, Plancor 572 sent “a small amount of oil” to the Old Silt
Pond during 1947 to 1955, in addition to the de minimis contributions of Plancors 152 and 1355
for some portion of time during that period. See Exxon Resp. to U.S. SOF ¶ 146; U.S. Resp. to
Exxon PF ¶ 286.

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U.S. contribution would have been de minimis. Thus, any contribution by the United States to

these areas could not have been the “driver” of Exxon’s cleanup costs. Exxon Opp. at 49-50.

               2.      Tank Farm 3000 Area

       Exxon likewise fails to meaningfully rebut the United States’ argument with respect to

the Tank Farm 3000 Area—that Exxon’s own investigation of the groundwater plume at the time

of its discovery concludes that the contamination likely could be attributed to units built after the

BOW ceased operation in 1945, or that Exxon continued to use for decades thereafter. Instead,

Exxon accuses the United States of attempting to mislead the Court, mischaracterizes the

opinions of the United States’ experts, and points to its own experts’ unsupported conjecture.

       First, Exxon’s contention that the United States attempted to mislead the Court “by

implying that the BOW was comprised of only the current Naphtha Rerun Unit” is patently false.

See Exxon Opp. at 47 n.48; see also U.S. SOF ¶ 156 (“A Naphtha Rerun Unit was part of the

original Baytown Ordnance Works.”) (emphasis added). Instead, the United States’ argument is

that of the three units identified by Exxon’s own engineers as likely sources of the

contamination, only the Naphtha Rerun Unit was part of the original BOW. Exxon continues to

use that Unit today, and can point to no evidence that the Naphtha Rerun Unit contributed to the

plume while the BOW was in operation. U.S. SOF ¶ 157. Indeed, the monitoring wells located

near or in the Naphtha Rerun Unit did not show significant quantities of free product at the time

the plumes were discovered in the early 1990s or afterwards. 14 Thus, no evidence pinpoints the


14
  In 1993, the monitoring well located within the Naphtha Rerun Unit area (MW-33) reported
only 0.08 feet of free product as compared to 6-7 feet in other wells located directly under the
Linear Paraffins Unit and Paraxylene Extraction Unit. See U.S. Ex. 92, Phase III Report at
BAYTECH-00027113. Since the 1993 Phase III Report, no free product has been observed in
wells immediately surrounding the Naptha Rerun Unit (MW-15, MW-25, MW-27, MW-31,
MW-35, and MW-56). U.S. SOF ¶ 164. MW-33 was plugged in the late 1990’s and thus could
not be sampled in later years. U.S. Ex. 111, Preliminary Design Information for Full-Scale
Hydrocarbon Recovery System, BAYTECH-00030347 at BAYTECH-00030359                        (cont’d)

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plume’s source as the Naphtha Rerun Unit during its World War II usage as opposed to the

subsequent decades of exclusive Exxon use. See generally Exxon Resp. to U.S. SOF ¶ 161.

       Second, Exxon mischaracterizes Mr. Low’s and Mr. Kittrell’s opinions with respect to

the Tank Farm 3000 Area. Mr. Low merely suggested that, for purposes of allocation, the BOW

could have contributed to the plume. U.S. Resp. to Exxon PF ¶ 505. He did not concede that it

had. 15 And Dr. Kittrell affirmatively stated that “the contaminants discovered within [the] BOW

plume were deposited well after the time of Federal involvement.” U.S. Resp. to Exxon PF ¶

505; see also U.S. Ex. 21, Dr. James R. Kittrell Expert Report 6, 41, 45 (Aug.10, 2012)

(explaining why plume contaminants are not likely war-era contaminants).

       Finally, Mr. Gagnon and Mr. Gravel offer only unsupported conjecture that BOW

operations contributed significantly to the plume. In fact, contrary to Exxon’s contention that

Mr. Gagnon reviewed “the types of technical data that would be useful in specifically

determining whether there were actual historical sources,” Exxon Opp. at 46, Mr. Gagnon

conceded in his deposition that there had been “limited to no forensic analysis [] conducted to

determine the vintage of the contamination” and he thus had “limited data available to make any

sort of claim as to the vintage of the contamination.” U.S. Ex. 254, Peter J. Gagnon Dep. Vol. II

375:21-376:1; 376:11-12 (April 12, 2013).

       Mr. Gravel has not been offered and is not qualified as an expert regarding the source of

any contamination at issue. Instead, Mr. Gravel was “retained by Exxon Mobil Corporation to

conduct historical research [and] perform related analysis.” Exxon Ex. 6, ¶ 3. Thus, his



(showing MW-33 plugged). MW-4 and MW-9, cited by Exxon, are plainly located under the
Linear Paraffins Unit. U.S. Ex. 92, Phase III Report at BAYTECH-00027113.
15
  Indeed, Mr. Low has been offered as an expert in CERCLA allocation, not as a hydrologist or
geologist qualified to testify regarding the source of any contamination.

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purported “analysis . . . to determine if the BOW operations were a source of the groundwater

contamination at the Tank Farm 3000 Area” is of no value to the Court. See, e.g., N. States

Power Co. v. City of Ashland, Wis., No. 12-cv-602, 2015 WL 1745880, *1-2 (W.D. Wis. Apr.

16, 2015) (expert with environmental studies degree and experience as a hydrologist working on

remediation sites was qualified to offer expert testimony on contamination source). To the

extent Exxon contends that Mr. Gravel’s analysis was historical in nature, Mr. Gravel is also not

qualified as an expert historian. See U.S. Phase I Opp. at 66-68. 16

       Moreover, as the United States explained in its opening brief, Mr. Gravel relies primarily

on a 1998 letter in which Exxon states to the Texas Natural Resource Conservation Commission

that the source of groundwater contamination at the Tank Farm 3000 is “believed to be historic,”

which merely meant that recent leaks were not believed to be significant contributors to the

plume. See U.S. Mot. at 52. The rest of Mr. Gravel’s “analysis” of the purported federal nexus

to the Tank Farm 3000 plume is likewise unfounded. Mr. Gravel assumes, based on the location

of the plume under the former BOW area, and based on the location of three spent catalyst

dumps “proximate to the BOW,” that the BOW area was a “possible source of leaks, spills, and

releases during the wartime period.” U.S. Ex. 13, A.J. Gravel Expert Report 122 (June 18, 2012)

(emphasis added). But these additional bases for Mr. Gravel’s conclusions, speculative as they

are, fail to establish a genuine issue of material fact that the United States significantly

contributed to the plume such that the United States should be allocated a portion of the past

costs. Davis v. Chevron U.S.A., Inc., 14 F.3d 1082, 1086 (5th Cir. 1994) (“a mere scintilla is not

enough to defeat a motion for summary judgment”).



16
  The United States plans to file a separate Daubert motion regarding Mr. Gravel’s
qualifications as a historian and contamination source expert. See U.S. Phase I Opp. at 66-68.

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       In summary, Exxon cannot prove that the United States contributed significant waste to

the Old Silt Pond, Rice Paddy Landfarm, and Tank Farm 3000 Area cleanup units. Thus, the

Court should assign a zero or otherwise de minimis share of their costs to the United States.

       B.      The United States’ proposed allocation is based on relevant facts and sound
               analysis.

       Exxon’s attempts to rebut the United States’ proposed allocation center on two core

themes. First, Exxon clings to the claim that refiners worked only for the United States during

World War II, insisting that this “fact” should inform every aspect of allocation. See, e.g., Exxon

Opp. at 51-54, 63-69. Second, Exxon argues that because government programs optimized

avgas production across refineries, every other product made at the refineries during World War

II is merely a “byproduct” that should be ignored for allocation purposes. See, e.g,, Exxon Opp.

at 51-54, 63-67. The first contention repeats an argument that the Court disposed of in its June

2015 opinion. The second is a self-serving attempt to exclude all wartime commercial

production from the allocation, thereby unfairly saddling taxpayers with paying the costs of

cleaning up wastes associated with that production.

               1.      The Court has already rejected Exxon’s counter-factual history of
                       World War II business practices.

       Exxon begins by revisiting its claims that the United States effectively nationalized the

refining industry during World War II; that it consequently controlled the operation of individual

refineries “by fiat” (Exxon Opp. at 52-54); and that everything else the refineries made

(approximately two-thirds of the production at each refinery) is therefore fairly characterized as

“an after-thought.” Id. at 54, 65. See U.S. Mot. at 62; U.S. SOF ¶ 174. The Court has already

rejected the factual predicate for this argument, in the course of deciding that the United States

did not “operate” the refineries, Phase I Decision at 495-98, 502-03, 521-30. Further, Exxon’s

counsel and its allocation expert have separately conceded the accuracy of Judge Fletcher’s

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treatment of pertinent facts in United States v. Shell Oil Co., 294 F.3d 1045, 1049-50 (9th Cir.

2002) (“Shell”), a description utterly inconsistent with large portions of Exxon’s opposition brief.

U.S. Opp. at 62-63 & n. 35.

                       a.      The United States did not coerce refiners.

       Exxon first suggests that governmental crude oil rationing left refineries with little choice

but to maximize avgas production – implicitly assuming that refineries would otherwise have

resisted doing so. See Exxon Opp. at 52-53. Rationing was a response to wartime shortages, not

a means of coercion, and avgas purchasing arrangements were cooperative by design. The

United States offered substantial inducements to maximize production, including accelerated

depreciation allowances on national defense projects and government ownership programs for

new facilities meant to protect industry from depression era fears of post-war excess capacity.

U.S. Ex. 163, Dr. Jay Brigham Expert Report 10, 16-18 (Aug. 10, 2012) (“Brigham 2012

Report”). The petroleum industry also benefitted from multi-year contracts with the Defense

Supplies Corporation; a program that reimbursed refiners directly for extraordinary production

costs; and what amounted to substantial, interest-free loans from the Defense Supplies

Corporation. Id. at 19-23. Subsidies were plentiful; coercion, though available, was vanishingly

rare. Phase I Decision at 495 (“federal agencies relied almost exclusively on contracts”); Shell, 294

F.3d at 1050.

       Exxon’s recurring contention that the United States treated industry as if it were one vast

oil refinery, e.g., Exxon Opp. at 52-53 & n.62, misunderstands the Planned Blending program.

Refiners had previously suffered criminal prosecution over their collusive response to “distress

gasoline” during the depression. See United States v. Socony-Vacuum Oil. Co., 310 U.S. 150

(1940). Planned Blending reversed the usual rules, asking refiners to undertake otherwise

forbidden joint planning of avgas component exchanges to mitigate shortages and offering in

                                                 29
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exchange antitrust “cover” in the form of Government orders and directives. U.S. Ex. 302, A.J.

Gravel Dep. 135 (Feb. 28, 2013) (“[I]t was the government that was gonna provide antitrust

cover to the industry because they had just gone through the Madison case.”). There is no

indication that the government was attempting to “coerce” refiners through their participation in

a program set up and run largely in accordance with industry suggestions. U.S. Ex. 8, Dr. Jay

Brigham Rebuttal Report 19 (Nov. 16, 2012) (“Brigham Rebuttal Report”) (“it seems that the

PAW relied on the petroleum industry for information on scheduling crude runs”); U.S. Resp. to

Exxon PF ¶ 77 (quoting J. Howard Marshall).

       This government-industry cooperation facilitated the production of additional avgas, a

profitable product sold under contracts designed to protect the industry from many of the

vagaries of the wartime economy. As the then-Secretary of War put it: “If you are going to try

to go to war, or to prepare for war, in a capitalist country . . . you have got to let business make

money out of the process or business won’t work.” U.S. Ex. 8, Brigham Rebuttal Report at 3

(citations omitted) (quoting Henry Stimson). Indeed, government programs were so generous

that some officials believed that industry was being coddled. Id. (reporting the comments of

Donald Nelson, who would become the head of the War Production Board). There is thus every

reason to believe that – even apart from wartime patriotism – refiners would have been eager to

participate in this program. And willing participation, along with industry profits, is precisely

what history records. See, e.g., U.S. Resp. to Exxon PF ¶¶ 77-83; U.S. Ex. 163, Brigham 2012

Report at 4, 13 n.21, 15, 16 n.31; Phase I Decision at 523 (“The federal government’s wartime

influence over these refineries stemmed from its voluntary contractual relationships with

Exxon’s predecessors . . . Standard and Humble consistently made profits . . . ”); Id. at 497

(quoting Lichter v. United States, 334 U.S 742, 767-68 (1948)); Shell, 294 F.3d at 1049-50



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(“Although the WPB, PAW, and other government agencies had the authority to require

production . . . in fact they relied almost exclusively on contractual agreements to ensure avgas

production . . . [t]he Oil Companies affirmatively sought contracts to sell avgas to the

government, and the contracts were profitable throughout the war.”).

                       b.      The United States did not manage individual oil refineries.

       There is no credible basis for Exxon’s contention that the United States effectively

commandeered individual refineries. Exxon continues to misunderstand the difference between

management of the wartime economy and operation of individual industrial plants, despite the

Court’s having called attention to the issue:

       Bestfoods clearly requires more than general influence over the economy or over a
       plant’s operations, even if the result could increase waste production. Under
       Bestfoods, operator liability requires the defendant to “manage, direct, or
       conduct” affairs leading to waste leakage . . .

Phase I Decision at 522; Id. at 519-20 (quoting Lockheed Martin Corp. v. United States,

35 F. Supp. 3d 92, 144-45 (D.D.C. 2014) (“[T]he Supreme Court’s definition of operator

liability in Bestfoods is helpful in delineating the types of control, over which CERCLA

extends and thus which party should be more responsible as an equitable matter.”), aff’d,

833 F.3d 225 (D.C. Cir. 2016).

       Contrary to Exxon’s claims, Exxon Opp. at 52-53, the Government’s policy during the

war was expressly based on the idea that the United States would not become directly involved

in operating manufacturing facilities. See Lichter, 334 U.S. at 754 (“[The Renegotiation Act]

sought to enable us to take the leading part in winning World War II on an unprecedented scale

of total global warfare without abandoning our traditional faith in and reliance upon private

enterprise and individual initiative devoted to the public welfare” (emphasis added)); see also

U.S. Ex. 8, Brigham Rebuttal Report at 3-9; U.S Ex. 171, Dr. Jay Brigham Expert Rebuttal and


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Supplemental Report 9-11 (Feb. 23, 2015). As Lincoln Gordon, who later became vice chairman

of the War Production Board, explained:

        . . . the philosophy of the War Production Board was hands off operations, not
       hands on. The idea was that we would regulate what could be done in the flow of
       materials, the conservation of materials, but operations were for individual busin-
       esses to carry on, so I think hands on is a totally inappropriate term.

U.S. Ex. 8, Brigham Rebuttal Report at 4. Contemporaneous histories are to the same effect, and

their analysis contrasts sharply with Exxon’s argument:

       Granted, then, that there should be, in the event of another war, a single civilian
       oil agency, cloaked with adequate authority, what should be its relationship with
       the industry? Should it use the cooperative system of World War II, or would it
       be more effective to do it next time by official fiat?

Id. at 6-7 (citing Frey, J. and H. Ide, A History of the Petroleum Administration for War

(GPO, 1946)) (emphasis added); compare, Exxon Opp. at 52 (“‘control by fiat’”). The

fact that the United States adhered to this concept in practice and throughout the war is

amply established by the Court’s prior opinion rejecting Exxon’s argument for holding

the Government liable as an operator. Phase I Decision at 495-96.

                       c.      An exaggerated federal share is unwarranted.

       Exxon effectively argues, without addressing the Court’s Phase I decision, that the United

States should be treated as a CERCLA operator of the refineries for allocation purposes. Exxon

does not explain why the Court, having explicitly assessed liability for sub-facilities in order to

inform its eventual allocation analysis, Phase I Decision at 520, should now abandon its findings.

Having determined that the United States is not liable as an operator at either refinery proper, the

Court should now allocate recoverable response costs accordingly, keeping in mind that nearly

all of Exxon’s existing costs are attributable to refinery (not Plancor or BOW) operations, and

that Exxon presents no separate costs associated with the “government plants.”




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               2.      Exxon’s refining operations arguments are inconsistent with historical
                       fact.

        Exxon introduces its second major allocation theme – that wartime commercial products

are merely a “byproduct” of avgas production – with the contention that the Government’s

experts “misunderstand how the refineries actually operated.” Exxon Opp. at 55. To the

contrary, the United States fully grasps – but has rebutted – Exxon’s arguments that programs

inclusive of rationing and planned blending amounted to a virtual nationalization of the two

refineries.

                       a.         Refiners retained authority over planning and scheduling.

        Mr. Lerman’s opinions regarding planning and scheduling depend on the “compulsion”

and “control” arguments discussed above (see also Exxon Mot. at 54, 56), recast as a discussion

of refinery “planning and scheduling.” His report concludes that refiners were forced into

submission during the war, but this conclusion is based on documents read out of context, and

constitutes a historical opinion well beyond the scope of his expertise. U.S. Ex. 295, David

Lerman Expert Report 15-22 (Sept. 24, 2015) (“Lerman 2015 Report”); see Phase I Decision at

530 n.33. As already discussed, Planned Blending was cooperative: Refiners met monthly, and

made their own plans collectively, the object being a voluntary exchange of blend stocks across

refineries. Phase I Decision at 495 (citation omitted); see U.S. Resp. to Exxon PF ¶ 59. Further,

Planned Blending optimized production across a group of refineries, regardless of the effect on

any one installation. Id. (Instructions: “[s]ometimes . . . directed refiners to blend avgas in a

way that would allow increases overall production even if that method would reduce an

individual refineries’ yield”).

        The use of scarce commodities to make avgas undoubtedly constrained the production of

other products that might have been made from those commodities. But that hardly suggests that


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the refiners’ role in “planning and scheduling” was displaced by the United States. Consider, for

example, “light gas oil,” which undisputedly can be used to make avgas, or, alternatively, to

make home heating oil or marine diesel fuel. U.S. Ex. 295, Lerman 2015 Report at 11-12. Mr.

Lerman’s table serves to make clear that there are dozens of products made from this and other

crude fractions, all of which require planning and scheduling decisions relating to, for example,

selecting a product mix and planning for seasonal variations. Id. at 13-14. Refiners plainly had

plenty of decisions to make, and history confirms that the United States left them to refinery

managers. “Forensic waste expert” Gregory Kipp’s 17 suggestion that “control” over production

was “tantamount to . . . mandating the amount and toxicity of waste” generated at the refineries,

Exxon Opp. at 55 (citation omitted), U.S. Resp. to Exxon PF ¶¶ 115-16, is equally unsupported,

for much the same reason – the supposed government “control” of day-to-day operations simply

did not exist, U.S. Opp. at 53-55.

                       b.     Crude oil was required for all products.

       The United States has argued that the Court should assign avgas a pro-rata share within

the product slate when it decides what World War II costs will be allocated among the parties

(Step 2). U.S. Mot. at 58-61. A pro-rata assignment is necessary because avgas purchase

contracts provided an indemnity for charges incurred “by reason of” avgas production only, and

avgas was a small portion of the product slate. If the Court does not assign pro rata shares,

taxpayers will be inappropriately assigned costs associated not only with avgas production but

also with purely commercial production during the war. Calculating such a share is, moreover,



17
   Mr. Kipp’s Vitae identifies him as a Geochemist and a Geological Engineer. Although he
has apparently performed forensic analyses seeking to “fingerprint” sources of waste in
environmental media, there is no indication that he has done so in this case. U.S. Ex. 248, Kipp
Report 2016 at Vitae at 1.

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feasible, as there is data in the record from which to calculate an avgas-to-commercial-product

ratio.

         Exxon seeks to rebut that argument by suggesting that the entire crude run had to be

distilled solely to make avgas and that, therefore, the Court should assign all of the waste

generated during World War II to avgas (and then assign 100% of that share to the Government

per the parties’ indemnity agreement). Exxon Opp. at 55; Exxon PF ¶¶ 99-101. Exxon offers

opinions from two experts in an effort to support this argument. Id.; Exxon PF ¶ 99; U.S. Ex.

289, John Beath Expert Rebuttal Report 7 (Dec. 21, 2012) (indicating that all crude would have

to be distilled regardless of the importation of avgas components); U.S. Ex. 295, Lerman 2015

Report at 2-3 (citing former Exxon expert Gary Baugher: “the only way Baytown and Baton

Rouge could maximize the production of avgas was by processing all of the crude oil and other

raw materials received . . .”); Id. at 23 (“a reduction in crude distillation rate would have reduced

avgas production”).

         If Exxon means that that avgas volume was literally dependent on running the entirety of

the crude charge, its analysis is faulty. 18 First, as Dr. Kittrell points out, Exxon’s experts’

opinions on this point would require a complex set of linear programming calculations –

something neither Exxon expert claims to have done. U.S. Ex. 18, Dr. James R. Kittrell Expert


18
    There are several technical anomalies in Exxon’s suggestion that it was “necessary to process
or ‘crack’ the crude,” (Exxon Opp. at 55) but they pertain to issues that the United States
believes are not in dispute. We therefore assume that the errors are an oversight, and clarify
what we take to be Exxon’s view as follows: 1) Exxon contends that all of the allotted crude at
each refinery had to be distilled (not “cracked”) in order to produce sufficient light gas oil (a
“cut” from the distillation column) to make base stock in the FCC units, supplying a necessary
avgas precursor; 2) Exxon therefore must also assume that all of the portion of the light gas oil
suitable for use as an FCC feedstock was in fact used as such (FCC units are “Fluid Catalytic
Crackers” which “crack” (break) long chains of hydrocarbon compounds in to shorter chains,
producing the required base stock). Both conditions are required to support an argument that the
entire crude run was required to make avgas.

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Report 22 (Part 5A, Paragraph f) (Sept. 22, 1016) (“Kittrell 2016 Rebuttal”); U.S. Ex. 291, Dr.

James Kittrell Dep. Vol. II 459:23-461:21 (Mar. 31, 2017). Second, although crude oil was in

short supply relative to the overall demand for war products, it is undisputed that avgas

production in particular was constrained by the ability to make the required high-octane blend

stocks. U.S. Ex. 295, Lerman 2015 Report at 13 (quoting Frey & Ide). In simple terms, the

refinery ran out of another component first, and so would have had as least some crude left over.

That remaining crude oil would have been available to make other products such as marine

diesel fuel or home heating oil. Surviving records establish that such products were made in

volume during the war. See, e.g., U.S. Ex. 299, Refinery Operations District 3 (Nov. 1944), at

MAA_EM-002595 (reporting production of substantial quantities of navy diesel fuel); U.S. Ex.

300, Refinery Operations District 3 (Apr. 1945), at MAA_EM-002542 (same); U.S. Ex. 52; Data

on War Products (June 2, 1943), at BAYHIS-00028171, 28185 (referencing production of

heating oils). 19

        The more important point, however, is that – even if true – the fact that much or all of the

crude had to be run to produce avgas does little to advance a rational allocation. There is no

dispute that distillation of the crude supply was the source of everything produced at the

refineries – avgas and commercial products alike – and that none of those products could be

made without generating waste. And products other than avgas clearly dominate the product

slate at both refineries. 20 Consistent with this fact, as we have already demonstrated, important


19
  An alternate reading of these opinions is that Exxon agrees that crude is run to make all
products. In that event, the company has consistently argued that everything other than avgas is
an inconsequential “byproduct” that need not be considered in an allocation. See, e.g., Exxon
Opp. at 55; U.S. Ex. 295, Lerman 2015 Report at 5. This position does not appear to require
expert support. See Exxon Mot. at 69-70; U.S. Opp. at 57-59.
20
  U.S. Mot. at 60 n.33 (citing PAW figures from Dr. Brigham’s report establishing that avgas
represented 14% of wartime production at Baytown, and about 19% at Baton Rouge).

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officials during World War II saw avgas itself as a small, though important, “byproduct” of

refining. U.S. Opp. at 59; U.S. Suppl. SOF ¶¶ 402-04.

       In sum, crude oil was required to make everything at the refineries. The relevant

question thus is not whether some particular amount of crude was or was not required to make

one product or another. Rather, it is how one ought to allocate environmental costs generated by

a large group of co-products manufactured by a refiner from any given amount of crude. Exxon

argues that the Court should focus on the fact that aviation gasoline was important, and that –

because all the crude had to be run anyway – the Court should simply ignore the 80% of refinery

production in each case that was not avgas and decline to perform a cost allocation.

       The equitable foundation for Exxon’s argument is less than obvious. Would Exxon agree

that the United States owed nothing in contribution if it could establish that manufacturing

commercial products to be sold in the domestic market required every barrel of crude to be run,

so that the manufacture of aviation gasoline made no significant contribution even to that portion

of Exxon’s response costs already assigned to World War II in Step 1? No doubt, Exxon would

argue that the avgas was important, and that the refineries were optimized to make more of it.

But the refineries in these cases are very large industrial assets, each of which has operated

continuously for nearly 100 years. The allocation discussion relating to avgas bears on a

commodity that made up less than 20% of the product slate on average for approximately four

years in each case. If Exxon’s approach is valid, and if all of the refineries’ crude would have

been consumed in any event (and maintaining the parties mutual assumption that waste scales

with the crude run), the manufacture of that product effectively added nothing of consequence to

the waste load. Why should Exxon recover?




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                         c.       Imported components supplied half of World War II Avgas
                                  Production.

        The remainder of Exxon’s discussion of the Government’s supposed misunderstandings

of how refineries operate is addressed to the Government’s contention that the assignment of

costs to be allocated at Step 2 (generally a division between commercial and military production)

should be modified slightly to reflect that fact that approximately one-half of the aviation

gasoline made at each refinery is made from components not derived from the distillation of

crude oil at the refineries. 21

        The United States’ argument, based on research by Dr. Brigham and study of production

data by Dr. Kittrell, is that allowance should be made for the fact that 50% of wartime avgas

consisted of imported stocks, which produced waste at the exporting refineries. See U.S. Mot. at

60 n.34. Detailed records covering much of the war confirm that both refineries imported

substantial quantities of blending stocks, and that approximately 50% of the avgas blends at each

refinery were produced by blending imported materials. U.S. 2d Suppl. SOF ¶¶ 409. Because

that is the case, an adjustment is required so that the waste associated with crude distilled at each

refinery is allocated across the group of products or portions thereof to which it actually

contributed. 22



21
   Although Exxon does not expressly identify it as such, this is an alternative argument – one
that assumes the Court will divide costs between commercial and “government related”
production as it decides “what costs will be allocated” at Step 2. Should the Court accept
Exxon’s argument that all wartime wastes should be assigned to avgas (and it certainly should
not), there would be no remaining costs to assign.
22
   Mr. Lerman’s suggestion that imports “do not translate into waste reductions when the
refineries still had to process their entire crude allocations each month . . .” is beside the point.
Exxon Opp. at 58. Again, there is no dispute the refineries ran their crude allotments month-
over-month during the war. This question is about what portion of the product slate was
produced from that crude oil – and in this instance about one-half of the avgas was effectively
produced without it. Once a decision is made that an allocation of costs should be made (cont’d)

                                                 38
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       Exxon raises multiple objections to this approach, Exxon Opp. at 56-59, none of them

substantive. Briefly:

       •       Dr. Kittrell’s assumption that avgas imports generated pursuant to the planned
       blending program were preferentially used to make avgas accords with pertinent
       historical treatments and with the realities of refinery engineering (U.S. 2d Suppl. SOF ¶¶
       411-13; see U.S. Ex. 18, Kittrell 2016 Rebuttal at 21-27 (providing a detailed analysis));

       •       The wastes generated by cracking FCC charge stocks, by on-site processing of
       natural gasoline, and by hydrogenation of codimer were inconsequential (U.S. 2d Suppl.
       SOF ¶¶ 414-19 (FCC stocks); U.S. 2d Suppl. SOF ¶¶ 420-29 (natural gasoline); U.S. 2d
       Suppl. SOF ¶¶ 430-36 (hydrogenation)); 23

       •       Natural Gasoline, a valuable high-octane product, was piped to the Baytown
       refinery throughout much of the war, and blending of intermediate products derived from
       natural gasoline materially aided the refinery’s efforts to increase the production of
       aviation gasoline (U.S. 2d Suppl. SOF ¶ 422); and

       •      Exxon’s claim to credit for exported avgas components as refinery products is
       reasonable, but the Company’s contention that it was a “net-exporter” is based on
       problematic calculations by Mr. Beath, who treats most imports as “on-site” feeds.
       Larger refineries in general, and the two at issue in particular, were substantial net
       importers of avgas components. U.S. 2d Suppl. SOF ¶¶ 464-73.

The record thus demonstrates that substantial amounts of blend stocks were imported to both

refineries during the war, and that these imported stocks were either blended directly (producing

no waste), or were minimally processed on site (producing very limited wastes). An equitable

allocation should therefore account for the imports. The United States’ experts’ calculations of

the appropriate adjustment are based on reliable record-keeping during the war, and – in




across products (commercial production vs. war products) Exxon offers no sound argument that
this factor should not be considered.
23
  As to supposed toxicity and persistence of FCC related wastes (Exxon Opp. at 57 n.68; Exxon
PF ¶ 362), see U.S. Opp. at 53-55; U.S. Suppl. SOF ¶¶ 377-83. See also, U.S. Ex. 18, Kittrell
2016 Rebuttal at 31-32 (addressing toxicity and “severe cracking”); U.S. Ex. 290, Kittrell 2017
Dep. Vol. I at 213:7-215:19 (explaining fate of dissolved oil content and phenols in wastewater);
U.S. Resp. to Exxon PF ¶ 362.

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contractual terms – it cannot be said that there is waste at the refinery “by reason of” the simple

blending of imported materials. See U.S. Mot. at 59 (quoting avgas contract).

               3.      Exxon’s remaining arguments are not persuasive

       When Exxon addresses the three-step allocation analysis, it argues for: 1) a “production

based” method at Step 1 (Exxon Opp. at 61-63); 2) adoption of the supposed 97% reduction in

wastes per barrel of crude run allegedly obtained beginning almost immediately after the war (Id.

at 59-61); 3) treatment of everything else the refinery made as an inconsequential “byproduct” of

avgas manufacture at Step 2 (Id. at 63-67), or, alternatively, findings determining that everything

made during the war was a war product anyway (Id. at 68-69); and 4) rejection of all of the

Government’s allocation proposals (Id. 71-74). We have addressed these issues in prior briefing,

and they require only passing discussion here.

                       a.      Allocation Steps One and Two

       Exxon continues to advocate for a “production based” method at Step 1, noting a

“significant amount of reliable data” and stressing “accuracy.” Exxon Opp. at 61, 62 n.77.

There is nothing inherently wrong with a production-based method of assigning costs to years

(although the United States notes that doing so would assign a much larger share to Exxon

because of large post-war production increases. U.S. Opp. at 56 (light grey bars)). Exxon’s

argument that the data supporting its calculations is “reliable” collapses, however, when it comes

to waste reduction factors – the real heart of Mr. White’s work. As the United States has already

demonstrated, Exxon’s calculation of enormous reduction factors, bolstered by the “delay

factor,” is wholly unsupported. U.S. Opp. at 42-56, 65-67.

       Mr. White contends that his production-based, waste- and delay-adjusted allocation

method is the only proper approach, and called upon others to suggest alternative waste

reduction factors if his are found wanting. U.S. Ex. 236, Richard White Dep., Vol. I, 233:1-

                                                 40
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236:22, 238:18-240:7, 250:9-253:5 (Apr. 13, 2017). When the government offered several

alternatives as a means to test Mr. White’s conclusions, Exxon complained that the alternatives

chosen were flawed. Exxon Opp. at 63 n.78. And to a degree, there is no dispute about that.

U.S. Mot at 58 n.32; U.S. Suppl. SOF ¶ 386. The suggested alternatives are better-supported

than Exxon’s figures, but all efforts to assess the impact of various “waste reduction” efforts on

the costs Exxon seeks in this case are inevitably based on limited data. Mr. White acknowledges

the problem, see U.S. Ex. 236, Richard White Dep. Vol. I 250:4-257:5 (Apr. 13, 2017), but he

remains determined to avoid acknowledging that he cannot perform a reliable calculation trading

production against waste reductions if his waste reduction figures are unreliable. For Exxon,

“second best” solutions simply do not exist. U.S. Ex. 237, Richard White Dep. Vol. I 430:7-

441:15 (June 6, 2013). 24



24
    Exxon complains that the United States does not account for the impacts of a sour water
stripper installed to handle FCC output streams in 1952, and that the alleged operation of an
effluent treatment unit (“EFU”) beginning in the 1950s has not been accounted for. Exxon Opp.
at 61. The presence of sour water stripping prior to 1952 is disputed, and has already been
addressed. U.S. Suppl. SOF ¶¶ 383; U.S. Resp. to Exxon PF ¶ 393. Information on the EFU is
limited, and its impact unclear. Humble appears to have had some difficulties with the unit, and
reports suggest that only three of the planned five filters were installed. U.S. Ex. 278, 1952 Loss
Committee Report, MIS-00031624 at 31635-36 (Apr. 4, 1952). The EFU appears to have been
intended to improve surface water quality, and clearly involved the use of filter cake that would
become contaminated and be transported in rail cars to the “spent clay pile.” Id. at 31634. The
most important impact of the unit, therefore, could well be the addition of large amounts of
contaminated clays to the waste clay pile largely after the period of federal involvement –
suggesting allocation equities for forthcoming costs related to that unit similar to those for the
Old Silt Pond at Baton Rouge. The emulsion-treating unit or ETU (Exxon PF ¶ 444) seems to be
a different sort of device, aimed at breaking emulsions that would otherwise have traversed the
plant outfall – but it too appears to have resulted in the capture and land disposal of oily wastes.
A002515 at 2566 (“solids collecting in the emulsion tanks have been washed in the silt washing
unit and then dumped on the low land back of the levee”).
More broadly, it is not clear why simply mentioning individual projects generically related to
better effluent performance bolsters Exxon’s case here – no means is offered to quantify the
impact of the units on wastes, or to relate their impacts to other projects. The benefit of the EFU,
for example, may have been included in that 1952 LDAR report. U.S. Mot. at 57 n.31. (cont’d)

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        Moving to Step 2, Exxon repeats its “control” and “byproducts” arguments, which are

said to justify what is now referred to as a “front-end” approach to identifying allocable costs –

which, in turn, simply assigns all waste to avgas production. Exxon Opp. at 63-67. There is no

new analysis here. All of the opinions relating to the long history of the Shell litigation continue

to be distinguished by the fact that difference between spent alkylation acid – a waste necessarily

initially associated with avgas production – and the entire remainder of a large slate of co-

products (items deliberately produced and sold) at the refineries at issue. Exxon continues to

deny that the difference exists, and does not address questions about why the Court should treat

Shell as precedential (which it should not on these facts). The Company does argue in the

alternative that virtually everything the refinery manufactured during the war – including

products like commercial motor gasoline and home heating oil – was actually a war product.

Exxon Opp. at 68-69. But that proposition is facially absurd. See U.S. Resp. to Exxon Opp. PF ¶

8. 25

        Finally, Exxon’s attempt to exaggerate the impact of the Plancors on refinery waste

streams requires little comment. Mr. Low’s updated work is painstaking, and accounts for the

relevant waste streams, including those at the BOW. Compare Exxon Opp. at 70 with U.S. Ex.


Random references to particular projects do not resolve the enormous problems with Exxon’s
proposed waste reduction multipliers.
25
    Exxon’s additional suggestion that “all the wastes at the site . . . would have had to be
cleaned up anyway” (Exxon Opp. at 66) seeks to equate Judge Branden’s January, 2017 opinion
regarding “substantial causation” with what has sometimes been referred to as the “stand alone”
method of allocation in CERCLA parlance. First, the Shell opinion is addressed to a very
specific causation requirement not present here, and the Court’s calculations suggest that the
question regarded disputed cleanup costs potentially amounting to $723,578 against a total of
over $64 million. Shell Oil Co. v. United States, 130 Fed. Cl. 8, 37 (Fed. Cl. 2017). Such would
certainly not be the case when 80% of the products being produced for sale are not subject to the
avgas contract in question. Second, the problem with stand-alone analysis is that it works both
ways – by Exxon’s reasoning the United States should be excused if commercial production is
sufficient to account for the waste in the absence of avgas production.

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22, Low Suppl. at 4-5, 7-14. And given that Exxon’s own proposed finding regarding Naptha

confirms that over 90% of the Naptha cycled through the BOW was returned to the refinery, the

Court should not condone the contention that 30% of the crude run should be attributed to

Naptha production (even as the same crude was also being used to make other products). Exxon

PF ¶ 232 (91% return).

                       b.      Step 3 and “Degree of Involvement”

       Exxon’s critique of the Government’s suggestions for Step 3 – the equitable allocation

that examines each parties’ involvement with the Site – are of a piece with the remainder of

Exxon’s positions. Exxon again suggests federal “control” of refinery operations should be the

deciding factor, notwithstanding its concession that Judge Fletcher’s opinion in Shell provides “a

very fair statement” of how the war was fought. Reference to Lockheed Martin Corp. v. United

States, 35 F. Supp. 3d 92 (D.C. Cir. 2014), as a comparator for an equitable federal share, Exxon

Opp. at 72 (29%), is inappropriate. In Lockheed, the United States conceded “owner” liability

based on equipment ownership, but escaped “operator” liability despite Lockeed’s attempt to

rely on FMC. Id. at 135, 148-50. The Lockheed court did assign federal shares of 20-30%

independent of contractual considerations, Id. at 153, but it arrived at that result on the basis of a

detailed inquiry regarding the “parties respective control over the disposal operations . . .

[considered to be] the paramount equitable consideration,” Id. at 135 – not because of Lockeed’s

arguments about military products that it was “required” to manufacture. Id. at 149-50.

       TDY Holdings,LLC v. United States, 872 F.3d 1004 (9th Cir. 2017) is similarly unhelpful.

Although the Ninth Circuit reversed a decision that assigned the United States a null share, the

Court of Appeals also opined that the district court retained broad discretion on remand and – in

the case of the concurring opinion – that a share quite close to zero would likely be affirmed. Id.

at 1011. And Judge Huvelle has provided a persuasive rebuttal to any notion that monopsonistic

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market power or strict product specifications are weighty factors, albeit in her discussion of

operator liability. Compare, Exxon Opp. at 73 (citing TDY Holdings – government “mandate”

for aircraft production) with Lockheed, 35 F. Supp. 3d at 149 (“LPC’s argument, taken to its

logical conclusion, would render the government an operator for practically any military output

contract.” (emphasis in original)).

        Exxon is unhappy with the Government’s attempts to find a fair estimate relating to war

products, but has offered no remotely credible counter-proposal. Compare U.S. Mot. at 65-67

with U.S. Resp. to Exxon Opp. PF ¶ 8. And it misunderstands the Government’s third alternative

– which reflects the additional crude runs to manufacture all war products, not just avgas, and

does not depend on the amount of crude that had to be run to make only avgas. Exxon’s

proposed allocation is “production based” because the Company contends that waste generally

scales with the crude run, an undisputed proposition. But if that is the case, and if the question

being asked is about the impact of the war on refinery waste production, it remains unclear why

Exxon objects to making a calculation that evaluates differential crude runs before and during the

war.

               4.      The Government’s proposals are equitable.

       The case before the Court involves a large group of costs incurred almost exclusively on

parcels where the Court has held that the United States would not be liable absent ownership and

operation of adjacent plants within the CERCLA “facility” defined in Phase I. There are no cost

groups specific to the “government plants,” and the impact those plants on refinery waste loads

was clearly modest. The Court ought to decline Exxon’s invitation to disregard those basic facts

and to do “alternative” equity in keeping with the Company’s preference that virtually all

meaningful waste disposal be assigned to the wartime era, and that the Government then be

assigned to pay for most or all of it.

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V.     EXXON HAS NOT IDENTIFIED SUFFICIENT FACTS ON WHICH THE
       COURT COULD ALLOCATE FUTURE COSTS.

       Exxon has failed to identify key facts to support traditional allocation factors for costs it

contends it might incur for the water bodies and sediments adjacent to the Baytown and Baton

Rouge Sites. 26 Exxon offers no more conclusive evidence relevant to future costs at the water

bodies than it did in Phase I, despite claiming that “extensive discovery related to allocation and

costs, including future response activities, has been conducted.” Exxon Opp. at 77.

       With respect to Baytown, Exxon offers the shoreline pore water studies discussed in the

United States’ Motion (and in Phase I), along with the unsupported opinion of its cost expert,

Mr. Ficca, and the unsupported statement of its employee, Mr. Paredes. See Exxon Opp. at 77

n.96; U.S. Resp. to Exxon PF ¶¶ 697, 790-91. Notably, Exxon does not contend that it has

conducted comprehensive studies of the existence, type, source, magnitude, or geographic extent

of any contamination in Mitchell Bay, the Houston Ship Channel, Black Duck Bay, and Scott’s

Bay, or that such studies are required by any government agency. See Exxon Opp. at 76-80. 27 In




26
  While courts certainly have “considerable latitude” in determining an equitable allocation,
courts typically consider:
        the amount of hazardous substances involved; the degree of toxicity or hazard of
        the materials involved; the degree of involvement by the parties in the generation,
        transportation, treatment, storage, or disposal of the substances; the degree of care
        exercised by the parties with respect to the substances involved; and the degree of
        cooperation of the parties with government officials to prevent any harm to public
        health or the environment.
Amoco Oil Co. v. Borden, Inc., 889 F.2d 664, 672-73 (5th Cir. 1989) (quotation and citation
omitted); see also Bell Petroleum Servs. v. Sequa Corp., 3 F.3d 889, 899-900, 901 n.12 (5th Cir.
1993); U.S. SOF ¶ 176 (listing additional information used to allocate costs for water bodies and
underlying sediments).
27
  On May 15, 2018, Exxon produced a proposed Interim Response Action Plan to the United
States, which had been submitted by Exxon to the TCEQ on March 27, 2018. The Plan does not
change the United States’ argument because it is limited to the shoreline area between Docks 6
and 7 in Mitchell Bay and does not address broader contamination in the Bay, if any. (cont’d)

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fact, with the exception of the shoreline studies, Exxon has not offered any studies of

contamination in the water bodies or underlying sediments at issue. See U.S. Phase I Resp. to

Exxon Second Set of PF (Docket No. 72-1) ¶¶ 69-73. 28 And the shoreline reports do not include

any study of contamination beyond the shoreline. See id. at ¶ 69 and n.3 below. 29

       Furthermore, Exxon has not established a connection between any contamination in the

water bodies and the production of war products during World War II and the Korean War. See

Exxon Opp. at 77 (arguing simply that the Government’s share for such unknown future costs at

the water bodies be the same as its share for known costs units elsewhere on the Sites). Exxon

stated in its proposed facts that SWMUs 59 and 69 are responsible for the Mitchell Bay shoreline

contamination, but Exxon has failed to establish Government responsibility for those SWMUs.

See Exxon Resp. to U.S. SOF ¶ 180 (contending without support that contamination is associated

with SWMUs 59 and 69); U.S. Resp. to Exxon PF ¶¶ 477, 485 (disputing or partially disputing a

federal nexus to SWMUs 59 and 69 and disputing showing of response costs and Government




U.S. Ex. 288, Interim Response Action Plan, Mitchell Bay Sediment Remediation, March 27,
2018, BAYTECH-00206436 at 206436, 206441.
28
  The cited U.S. Phase I Responses to Exxon’s Second Set of Proposed Findings discuss several
of the documents cited in Exxon’s PF ¶ 697. The others cited and not previously discussed do
not show contamination in the water bodies. See, e.g., A004668 at 4694-96 (discussing potential
migration pathways).
29
   Exxon contends that it conducted “an extensive ecological risk assessment of the Houston Ship
Channel” based “in part” on the shoreline studies, but the cited report does not identify any other
studies nor does Exxon. See Exxon Resp. to U.S. SOF ¶ 181 (citing A008076-8107); see, e.g.,
A008093-94 (discussing the collection of sediment pore water samples from the potential zone
of groundwater discharge); A008084 (identifying the potential zone of groundwater discharge as
“1,500 linear feet of the [Houston Ship Channel] adjacent to the western boundary of the
[Refinery] and south of Dock 1.”). Exxon’s newly-produced Interim Plan for the shoreline
indicates that the shoreline contamination is “generally immobile unless the sediments are
disturbed.” U.S. Ex. 288, Exxon Interim Response Action Plan at BAYTECH-00206442.

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responsibility); U.S. Phase I Resp. to Exxon Second Set of PF ¶ 69 (disputing evidence offered

to support connection to SWMU 59).

       There is even less evidence to support Exxon’s claim for unknown future costs with

respect to Baton Rouge. Exxon offers four items—an unsupported declaration by Michael

Pisani, an employee of one of Exxon’s consultants, a 1986 Hydrogeologic Investigation, a 1987

Corrective Action Order, and a 1996 Shallow Fill Zone Technical Report. See Exxon Opp. at 77

n.96 (citing Exxon PF ¶ 713); Exxon Resp. to U.S. SOF ¶¶ 184, 185 (unsupported statement that

Exxon has incurred past costs and may incur costs for Monte Sano Bayou). As with the

Baytown documents, the Baton Rouge reports do not contain comprehensive studies of the

existence, type, source, magnitude, or geographic extent of any contamination in the Monte Sano

Bayou or Mississippi River, or require such studies. A003890; A008321; A003895-12. None of

the Baton Rouge reports even conclude that contamination has migrated from the Site into the

water bodies or underlying sediments. See id.; see, e.g., A003898 (“There is no evidence of

vertical or horizontal migration of affected materials[.]”). Furthermore, the reports do not

establish a connection between any contamination in the water bodies or sediments and the

production of war products. See id.

       Such information matters for purposes of allocation. Without knowledge of the specific

type of contamination, its location and extent, and its source, the United States’ relative

responsibility to Exxon, which has been discharging into the water bodies for decades, cannot be

established. 30 In such circumstances, other courts have declined to allocate unknown future

costs under a declaratory judgment, or allowed the parties to re-litigate the allocation with new



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  See U.S. Ex. 23, Mathew Low Expert Rebuttal Report 30-31 (Nov. 2012) (discussing the lack
of relevant discharge data).

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facts and evidence. U.S. Mot. at 70. The cases Exxon cites do not contradict this sensible

approach because they involve reasonably foreseeable future costs for specific cost components

rather than wholly speculative future costs like those at issue here. Exxon Opp. at 79 & n.99

(citing cases).

        New York State Electric & Gas Corp. v. FirstEnergy Corp., for example, involved sixteen

specific sites associated with manufactured gas plant operations which were covered, or expected

to be covered, by a Consent Order with the New York Department of Environmental

Conservation that required a specific process for investigating and remediating contamination at

the sites. 808 F. Supp. 2d 417, 446-52 (N.D.N.Y. 2011), vacated on other grounds, 766 F.3d

212 (2d Cir. 2014). With the exception of one site—the Corning site—the liable party “ha[d]

incurred substantial costs in responding to the release of hazardous substances.” Id. at 446.

Although the liable party had spent less than $600 on the Corning site as of the date of the

decision, both the liable party and the State expected to find hazardous substances at the site

“given the nature of the [manufactured gas plant operations] conducted there.” Id. at 446 n.12,

452. Thus, unlike the presence of contamination and the likelihood of future required action to

address the water bodies at issue here, the presence of contamination and the likelihood of future

required action was not wholly speculative at any of the sixteen sites at issue in NYSEG.

        Likewise, in Board of County Commissioners of La Plata, Colorado v. Brown Group

Retail, Inc., a private party cleaned up contamination at a specific property under the supervision

of the Colorado Department of Public Health and the Environment. 768 F. Supp. 2d 1092, 1097,

1105-06 (D. Colo. 2011). The court allocated future costs under a declaratory judgment, id. at




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1122-23, but also explained that “La Plata’s proposed remediation plans are limited to the

Property. La Plata is not proposing any remediation at offsite properties.” Id. at 1107. 31

       There is no merit to Exxon’s contention that withholding a declaratory judgment for

unknown future costs would result in “massive and wasteful” re-litigation. Exxon Opp. at 78.

The only issue that would be litigated in the future—if costs are actually incurred to address the

water bodies—would be the United States’ contribution to the contamination that drives those

future costs, which has not yet been litigated. Given the complete lack of information regarding

the extent and source of any contamination in the waters at issue, this Court should reject

Exxon’s request to enter a declaratory judgment allocating unknown future costs at this time. 32

                                         CONCLUSION

       For the foregoing reasons, the Court should grant the United States summary judgment.




31
   See also Tosco Corp. v. Koch Indus., Inc., 216 F.3d 886, 897 (10th Cir. 2000) (affirming the
district court’s allocation of future costs where only the “exact amount,” rather than whether the
costs would be incurred at all and which party was responsible for the contamination, was
unknown); Lockheed, 35 F. Supp. 3d at 97-98, 153, 162 (allocating future costs for specific
facilities); Yankee Gas Servs. Co. v. UGI Utilities, Inc., 852 F. Supp. 2d 229, 250 (D. Conn.
2012) (allocating future response costs that “have been or will be incurred at [the property]”);
Vine Street LLC v. Keeling ex. rel. Estate of Keeling, 460 F. Supp. 2d 728, 767 (E.D. Tex. 2006),
rev’d on other grounds, 776 F.3d 312 (5th Cir. 2015) (allocating future costs “for the
contamination at issue” but declining to enter a declaratory judgment for future costs that could
arise under facts that had not yet occurred); U.S. Mot. at 70-71 (discussing allocation of future
costs in Boeing Co.).
32
  For similar reasons, the Court should also reject Exxon’s attempt at an even broader
declaratory judgment allocating future costs for unspecified “other areas of contamination” in
addition to the water bodies. See U.S. Opp. at 72-73.

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                                 Respectfully submitted,

Dated: May 18, 2018              JEFFREY H. WOOD
                                 Acting Assistant Attorney General
                                 Environment and Natural Resources Division

                                  /s/ Erica Zilioli
                                 Michael D. Rowe (Attorney-in-Charge)
                                 Erica M. Zilioli
                                 Justin D. Heminger
                                 Brian H. Lynk
                                 Stephanie J. Talbert
                                 Trial Attorneys
                                 Environmental Defense Section
                                 United States Department of Justice
                                 P.O. Box 7611
                                 Washington, DC 20044
                                 (202) 514-3144
                                 michael.rowe@usdoj.gov

                                 RYAN K. PATRICK
                                 United States Attorney

                                 Jimmy A. Rodriguez
                                 Assistant United States Attorney
                                 Southern District No. 572175
                                 Texas Bar No. 24037378
                                 1000 Louisiana, Suite 2300
                                 Houston, TX 77002
                                 (717) 567-9532
                                 jimmy.rodriguez2@usdoj.gov

                                 Counsel for Defendant United States




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2018, I filed the foregoing Reply and accompanying

documents using the Court’s CM/ECF system, which will electronically serve all counsel of

record registered to use the CM/ECF system.

                                           /s/ Erica Zilioli
